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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


    In re:                                                           Chapter 11

    THE ROMAN CATHOLIC DIOCESE OF                                    Case No. 23-60507 (PGR)
    OGDENSBURG, NEW YORK,

                      Debtor.

       COVER SHEET TO FIRST INTERIM FEE APPLICATION OF PACHULSKI
    STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES RENDERED
      AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO THE
     OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF THE DEBTOR FOR
           THE PERIOD AUGUST 17, 2023 THROUGH NOVEMBER 30, 2023

Name of Applicant:                                            Pachulski Stang Ziehl & Jones LLP (“PSZJ”)

Authorized to Provide Professional Services to:               The Official Committee of Unsecured
                                                              Creditors of the Debtor

Date of Retention:                                            August 17, 2023 [Doc. 193]

Period for Which Compensation is Sought:                      August 17, 2023 through November 30, 2023

Amount of Fees Sought:                                        $315,080.001

Amount of Expense Reimbursement Sought:                       $    4,432.65

This is PSZJ’s First Interim Fee Application.

             SUMMARY OF MONTHLY FEE STATEMENTS FOR THE FEE PERIOD2

                                                       Requested                                Approved
    Date Filed         Period Covered               Fees       Expenses                    Fees       Expenses
                                                   (100%)       (100%)                    (80%)        (100%)
    11/20/2023          8/17/23-9/30/23           $181,889.50   $ 808.82                $145,511.60     $ 808.82
    11/20/2023         10/1/23-10/31/23           $ 78,104.50   $1,939.06               $ 62,483.60     $1,939.06
    12/13/2023         11/1/23-11/30/23           $ 58,320.00   $1,684.77               $ 46,656.00     $1,684.77

1
  This amount reflects a reduction of $3,234.00 due to erroneously billing Kerri LaBrada’s rate at $545 in the First
and Second Monthly Fee Statements.
2
  No objections were filed to any of the Monthly Fee Statements filed by PSZJ during the Fee Period. The Debtor
paid the Firm: (a) $146,320.42 (80% of the fees charged and 100% of the expenses incurred pursuant to the 1st
Monthly Fee Statement) on 12/20/2023, and (b) $64,422.66 (80% of the fees charged and 100% of the expenses
incurred pursuant to the 2nd Monthly Fee Statement) on 12/20/2023. The Firm has not received any payment on
account of its 3rd Monthly Fee Statement.


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SUMMARY OF HOURS BILLED BY PROFESSIONALS AND PARAPROFESSIONALS

          Name of                   Position of the Applicant,            Hourly   Total             Total
        Professional                Number of Years in that               Billing  Hours          Compensation
         Individual                 Position, Prior Relevant               Rate    Billed
                                 Experience, Year of Obtaining          (including
                                   License to Practice, Area of         Changes)
                                            Expertise
    James I. Stang              Partner 1983; Member of CA Bar             $800.00        2.90          $2,320.00
                                since 1980
    Iain A.W. Nasatir           Partner 1999; Member of NY Bar             $800.00       17.70         $14,160.00
                                since 1983; Member of CA Bar
                                since 1990
    Ilan D. Scharf              Partner 2010; Member of NY Bar             $800.00       72.30         $57,840.00
                                since 2002                                 $ 0.00        18.90              $0.00
    Jason S. Pomerantz          Partner 2019; Member of CA Bar             $800.00       82.10         $65,680.00
                                since 1991                                 $ 0.00         0.00              $0.00
    Erin E. Gray                Of Counsel 1997; Member of CA              $800.00       82.50         $66,000.00
                                Bar since 1992; Member of SC
                                Bar since 2018
    Karen Dine                  Of Counsel 2020; Member of NY              $800.00 120.00              $96,000.00
                                Bar since 1994                             $ 0.00 11.40                     $0.00
    Brittany M. Michael         Of Counsel 2020; Member of MN              $800.00 11.40                $9,120.00
                                Bar 2015; Member of NY Bar
                                2019
    Kerri LaBranda              Paralegal                                 $545.003       13.20          $7,194.00

                                       Grand Total:         $318,314.00
                                       Total Hours:              432.40
                                       Blended Rate:            $736.16




3
 Kerri LaBranda was erroneously billed at $545.00 in the First and Second Monthly Statements. The Firm corrected
her rate going forward and reduced the amount of fees being requested in this First Interim Fee Application by
$3,234.00 to reflect the adjustment to cap her hourly rate at $300.00 per hour.


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                                       TASK CODE SUMMARY

                 Project Categories                          Total Hours                   Total Fees
    Asset Analysis and Recovery                                       120.00                    $95,923.50
    Bankruptcy Litigation                                               37.90                   $30,141.50
    Case Administration                                                 69.80                   $53,927.50
    Claims Administration and Objections                                44.90                   $35,869.00
    PSZJ Compensation                                                   14.30                   $11,440.00
    General Creditors Committee                                         27.40                   $21,920.00
    Hearing                                                             24.90                   $19,920.00
    Insurance Coverage                                                  20.10                   $16,080.00
    Meeting of and Communications with                                   6.60                   $ 5,280.00
    Creditors
    Mediation                                                                5.30                 $ 4,240.00
    PSZJ Retention                                                          11.10                 $ 8,523.00
    Other Professional Retention                                             7.40                 $ 5,129.50
    Stay Litigation                                                         12.40                 $ 9,920.00
    Travel                                                                  30.30                 $     0.00


                                         EXPENSE SUMMARY

          Expense Category                            Service Provider4                           Total
                                                        (if applicable)                          Expenses
    Air Fare                             Delta Airlines                                           $ 507.80
    Attorney Service                     Cab fare                                                 $ 106.99
    Auto Travel Expense                  Elite Transportation                                     $ 344.77
    Delivery/Courier Service             Mobile Parcel Carrier                                    $ 15.00
    Federal Express                                                                               $ 26.81
    Hotel Expense                        Double Tree Hotel Syracuse                               $ 340.48
    Lexis/Nexis - Legal Research                                                                  $ 65.80
    Litigation Support Vendors           Everlaw                                                  $1,000.00
    Pacer - Court Research                                                                        $ 83.60
    Reproduction Expense                                                                          $ 423.30
    Transcript                           JJ Court Transcribers                                    $1,518.10




4
 PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


 In re:                                                          Chapter 11

 THE ROMAN CATHOLIC DIOCESE OF                                   Case No. 23-60507 (PGR)
 OGDENSBURG, NEW YORK,

                        Debtor.


                   FIRST INTERIM APPLICATION OF PACHULSKI
          STANG ZIEHL & JONES LLP FOR ALLOWANCE OF COMPENSATION
          FOR PROFESSIONAL SERVICES RENDERED AND REIMBURSEMENT
              OF EXPENSES INCURRED AS COUNSEL TO THE OFFICIAL
             COMMITTEE OF UNSECURED CREDITORS OF THE DEBTOR
           FOR THE PERIOD AUGUST 17, 2023 THROUGH NOVEMBER 30, 2023

                   Pachulski Stang Ziehl & Jones LLP. (“PSZJ” or the “Firm”), counsel to the

Official Committee of Unsecured Creditors of the debtor (the “Committee”), hereby submits

this First Interim Fee Application (the “Application”), pursuant to 11 U.S.C. §§ 330 and 331 and

Rule 2016 of the Federal Rules of Bankruptcy Procedure, for the period commencing August 17,

2023 through November 30, 2023. In further support of the Application, PSZJ respectfully

states as follows:

                                             Preliminary Statement

                   1.           PSZJ requests: (a) interim allowance of compensation in the amount of

$315,080.00 for fees on account of reasonable and necessary professional services rendered and

reimbursement of actual and necessary costs and expenses in the amount of $4,432.65 for the

period from August 17, 2023 through November 30, 2023 (the “Fee Period”), and (b) payment

of any unpaid portion of all such allowed fees and expenses.




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                                                    Jurisdiction

                   2.           The Court has jurisdiction over this application pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                   3.           Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                   4.           The statutory predicates for relief are sections 330 and 331 of Title 11 of

the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rule 2016-1.

                                                    Background

                   5.           On July 17, 2023 (the “Petition Date”), The Roman Catholic Diocese of

Ogdensburg, New York (the “Debtor” or the “Diocese”) filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code.

                   6.           On August 11, 2023, the United States Trustee appointed the Committee,

pursuant to section 1102 of the Bankruptcy Code. See Appointment of Committee of Unsecured

Creditors [Docket No. 65]. Following the Committee’s appointment, the Committee, subject to

Court approval, retained PSZJ as its counsel.

                   7.           On or about September 19, 2023, PSZJ filed its application seeking to be

employed in this case [Docket No. 123] (the “Retention Application”). As set forth in the

Declaration of Ilan Scharf in support of the Retention Application, due to the unique

circumstances of this case, PSZJ proposed to charge hourly rates which are below its regular

hourly rates, specifically, to charge its normal and customary hourly rates, subject to a cap of

$800 per hour for attorneys working on this case and $300 per hour for paraprofessionals

working on this case. On October 16, 2023, the Court entered its Order Approving Ex Parte


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Application to Retain and Employ Pachulski Stang Ziehl & Jones LLP as Counsel to the Official

Committee of Unsecured Creditors Effective as of August 17, 2023 [Docket No. 193] (the

“Retention Order”), authorizing the employment of PSZJ as counsel to the Committee effective

as of August 17, 2023. The Retention Order authorized PSZJ to apply for compensation for

professional services rendered and reimbursement of expenses as set forth in the Retention

Application, subject to the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any

other applicable procedures and orders of this Court.

                   8.           PSZJ did not receive a retainer in connection with its employment and, to

date, has only received compensation for services and reimbursement of expenses pursuant to the

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Professionals and Members of Official Committees entered November 9, 2023 [Docket No. 250]

(the “Interim Compensation Order”). The Firm filed three Monthly Fee Statements for the

Fee Period. No objections were filed. As is disclosed in the Cover Sheet, the Debtor has paid the

Firm a total of $210,743.08, which represents 80% of the fees and 100% of the expenses sought

in connection with the 1st and 2nd Monthly Fee Statements. The Debtor has not, to date, paid the

Firm balance outstanding on account of the 3rd Monthly Fee Statement of $48,340.77 (80% of

fees and 100% of expenses).

                   9.           PSZJ has received payments on such Monthly Fee Statements only from

the Debtor and has no agreement to share compensation received in this case other than among

the partners, of counsel and associates of the Firm.




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                      Statement Regarding the Status of the Case (LBR 2016-1(b)(3)(B)1


                   10.          Cases similar to the Diocese’s typically have three stages: (i) gathering

information from claimants and the Diocese; (ii) mediation and/or litigation of certain matters;

and (iii) the confirmation process. At this time, the bar date has passed, the Diocese has

provided information to the Committee, and the Committee is reviewing documents and claims.

The Committee expects to move expeditiously to mediation in the near term. The Committee

will continue to seek information from the Diocese, related parties and/or their insurers as the

case progresses. PSZJ can not assess what percentage of the work in the case is yet to be done,

but it anticipates that the mediation phase of the case will proceed shortly.

         Statement Regarding the Estate’s Ability to Pay Case (LBR 2016-1(b)(7)2


                   11.          To the best of the Firm’s knowledge, the estate is able to pay the requested

fees and expenses. According to its most recent Monthly Operating Report, As of November 30,

2023, [Doc. No. 326), the Debtor (a) reported approximately $3.7 million in cash in its bank

accounts (including over $3.0 million in a bank account identified as “Restructuring”) and (b)

reported total assets of approximately $21.1 million..

                   Summary of Services Rendered by PSZJ During the Fee Period3

         During the Fee Period, PSZJ has rendered numerous, varied, and substantial services to

the Committee in connection with this case, including but not limited to:

1
  Local Bankruptcy Rule 2016-1(b)(3)(B) provides that an interim application shall provide, “an explanation of the
status of the case, a projection as to the percentage of work that the current application covers in relation to the
overall case, and any other matters that will enable the Court to determine the reasonable value of such services.”
2
  Local Bankruptcy Rule 2016-1(b)((7) requires, “A statement describing the estate’s ability to pay the fees
requested and the status of fees owed to other administrative claimants of equal priority to the extent the
professional is employed pursuant to §§ 327 or 1103 and compensation is sought from the estate and not a third
party.”
3
  PSZJ billed some similar services to different categories. Such billing has not resulted in any duplication of fees.


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              A.         Asset Analysis and Recovery

                   12.          This category relates to work regarding asset analysis and recovery issues.

During the Fee Period, the Firm, among other things: (1) reviewed and analyzed First Day

affidavits regarding structure and financial information relating to the Diocese and affiliates;

(2) reviewed and analyzed the pre-petition discovery and organized discovery already produced;

(3) prepared discovery requests for information regarding operations, finances and insurance of

the Diocese and certain affiliates; (4) reviewed and analyzed issues regarding the Deposit and

Loan Fund and Deposit Trust Fund motion (“DLF/DTF Motion”); (5) prepared and propounded

information requests relating to the DLF/DTF Motion; (6) monitored the status of and analyzed

issues regarding discovery propounded, received and outstanding; (7) reviewed and analyzed

information produced relating to the DLF/DTF Motion; (8) reviewed and analyzed issues

regarding an objection to the DLF/DTF Motion; (9) reviewed and analyzed DLF/DTF Motion

proposed budget issues; (10) negotiated the terms of a confidentiality agreement to facilitate the

production of documents; (11) reviewed and analyzed budgets; (12) reviewed and analyzed

documents produced by the Diocese relating to finance, operations and administration of the

Diocese and certain affiliates; (13) reviewed and analyzed insurer pleadings relating to

discovery; (14) reviewed and analyzed Schedules; and (15) corresponded and conferred with

Committee and Debtor professionals regarding discovery and asset analysis issues.

                   Fees: $95,923.50;           Hours: 120.00




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              B.         Bankruptcy Litigation

                   13.          This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Fee Period, the Firm, among other things: (1) reviewed and

analyzed issues regarding First Day Motions and strategy; (2) reviewed and analyzed issues

regarding litigation of the DTF/DLF Motion; (3) reviewed and analyzed the Rev. Kevin O’Brien

and Mark Mashaw declarations; (4) reviewed and analyzed issues regarding Second Day motions

and orders; (5) reviewed and analyzed issues regarding a Section 345 motion; (6) performed

research regarding legal issues with respect to First and Second Day motions; (7) reviewed and

analyzed Committee standing issues; (8) reviewed and analyzed issues regarding the Norfolk

Parish; (10) reviewed and analyzed issues regarding financing motions and proposed orders; (9)

prepared an objection to the DTF/DLF ; (10) drafted a response to the Section 345 motion; (11)

prepared comments to forms of First and Second Day Orders to resolve issues; (12) performed

work regarding finalizing and filing the Committee’s responses to the Debtor’s First and Second

Day motions; (13) reviewed and analyzed the Diocese submission of a mediation order and bar

date order with insurer and Committee comments; (14) prepared and filed letters/pleadings

relating to mediation and bar date order issues; (15) reviewed and analyzed entered orders; (16)

reviewed and analyzed hearing transcripts; and (17) corresponded and conferred regarding

bankruptcy litigation issues.

                   Fees: $30,141.50;          Hours: 37.90




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              C.         Case Administration

                   14.          This category relates to work regarding administration of this case.

During the Fee Period, the Firm, among other things: (1) reviewed and analyzed issues

regarding the division of roles and responsibilities in the case; (2) performed work regarding a

notice of appearance; (3) maintained a work-in-progress list and performed work regarding a

contact list; (4) reviewed and analyzed Section 341 issues; (5) performed work regarding pro

hac vice motions; (6) maintained a memorandum of critical dates; (7) prepared for and attended

work-in-progress telephonic conferences; and (8) reviewed and analyzed issues regarding

discovery, pending motions and first meeting of creditors; ;(9) reviewed and analyzed issues

regarding a transcript of the Section 341(a) meeting of creditors; (10) prepared for and

participated in telephonic conferences with Debtor’s counsel regarding outstanding case matters;

and (11) corresponded and conferred regarding case administration issues.

                   Fees: $53,927.50;           Hours: 69.80

              D.         Claims Administration and Objections

                   15.          This category relates to work regarding claims administration and claims

objections. During the Fee Period, the Firm, among other things: (1) reviewed and analyzed

issues regarding a bar date motion, notice of hearing and proposed order; (2) performed work

regarding comments to the proposed bar date order; (3) performed work regarding an objection

to the bar date motion; (4) performed research relating to bar date issues; (5) reviewed and

analyzed pleadings filed by insurers regarding the bar date motion and performed work regarding

a reply; (6) reviewed and analyzed Diocese revisions to a bar date order and exhibits;



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(7) performed work regarding a letter to the Court relating to bar date issues; (8) reviewed and

analyzed issues regarding an offender list; (9) reviewed and analyzed the Century motion for

reconsideration of the bar date order and performed work regarding an objection to that motion;

and (10) corresponded and conferred regarding claim issues.

                   Fees: $35,869.00;           Hours: 44.90

              E.         PSZJ Compensation

                   16.          This category relates to issues regarding the compensation of the Firm.

During the Fee Period, the Firm, among other things, performed work regarding its September

and October 2023 monthly fee statements in anticipation of an interim fee application, and

corresponded and conferred regarding compensation issues.

                   Fees: $11,440.00;           Hours: 14.30

              F.         General Creditors Committee

                   17.          This category relates to general Committee issues. During the Fee Period,

the Firm, among other things: (1) reviewed and analyzed correspondence regarding ongoing

case issues; (2) performed work regarding meeting agenda and prepared for and participated in

conferences with the Committee and State Court Counsel; (3) performed work regarding

Committee by-laws; (4) performed work regarding meeting minutes; (5) performed work

regarding memorandums to the Committee and State Court Counsel regarding case status issues;

(6) reviewed and analyzed non-disclosure agreement issues; and (7) conferred and corresponded

regarding general Committee issues.

                   Fees: $21,920.00;           Hours: 27.40



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              G.         Hearings

                   18.          This category relates to issues regarding Court hearings. During the Fee

Period, the Firm, among other things: (1) prepared for and attended the hearing on October 3,

2023; (2) prepared for and attended the hearing on October 16, 2023 regarding an insurance

Bankruptcy Rule 2004 motion; (3) prepared for and attended the hearing on November 7, 2023;

and (4) conferred regarding hearing issues.

                   Fees: $19,920.00;           Hours: 24.90

              H.         Insurance Coverage

                   19.          This category relates to issues regarding insurance coverage and other

insurance issues. During the Fee Period, the Firm, among other things: (1) reviewed and

analyzed a coverage chart, policies and coverage letters produced by the Diocese; (2) reviewed

and analyzed a First Day insurance motion and supporting declarations; (3) reviewed and

analyzed insurance and PSIP documents regarding a review in connection with the Debtor’s

insurance motion and a mediation motion in an insurance adversary proceeding; (4) reviewed

and analyzed derivative standing issues; (5) performed work regarding a memorandum relating

to the Diocese insurance motion; (6) performed work regarding a motion to intervene in an

insurance adversary; (7) reviewed and analyzed form of precedent regarding Bankruptcy Rule

2004 issues; and (8) corresponded and conferred regarding insurance coverage issues.

                   Fees: $16,080.00;           Hours: 20.10




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              I.         Meetings of and Communication with Creditors

                   20.          This category relates to issues regarding meetings of and communications

with creditors. During the Fee Period, the Firm, among other things, prepared for and attended a

Section 341 meeting of creditors, and corresponded regarding meeting of creditors issues.

                   Fees: $5,280.00;            Hours: 6.60

              J.         Mediation

                   21.          This category relates to mediation issues. During the Fee Period, the

Firm, among other things: (1) reviewed and analyzed mediation and mediator candidate issues;

(2) reviewed and analyzed issues regarding a response to the mediation motion; (3) performed

work regarding a mediation order; (4) reviewed and analyzed a Debtor letter to the Court

regarding mediation issues and drafted a letter to the Court regarding mediator appointment;

(5) reviewed and analyzed a Court order regarding mediator selection issues; and (6) conferred

regarding mediation issues.

                   Fees: $4,240.00;            Hours: 5.30

              K.         PSZJ Retention

                   22.          This category relates to issues regarding the retention of the Firm. During

the Fee Period, the Firm, among other things, performed work regarding its retention application

and order, including drafting the application and reviewing and assessing connections pursuant

to the Bankruptcy Code and Rules.

                   Fees: $8,523.00;            Hours: 11.10




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              L.         Other Professional Retention

                   23.          This category relates to issues regarding the retention of professionals,

other than the Firm. During the Fee Period, the Firm, among other things: (1) reviewed and

analyzed issues regarding employment applications of Diocese professionals; (2) performed

work regarding the BRG retention application; (3) performed work regarding the Burns Bair

retention application and order; and (4) corresponded regarding retention issues.

                   Fees: $5,129.50;            Hours: 7.40

              M.         Stay Litigation

                   24.          This category relates to work regarding the automatic stay and relief from

stay motions. During the Fee Period, the Firm, among other things: (1) performed work

regarding an objection to the Diocese motion for confirmation of the automatic stay;

(2) performed research; and (3) reviewed and analyzed a motion for stay relief regarding a

probate matter.

                   Fees: $9,920.00;            Hours: 12.40

              N.         Travel

                   25.          During the Fee Period, the Firm incurred non-working time while

traveling on case matters. The Firm did not charge for such time.

                   Fees: $0.00; Hours: 30.30

                   26.          The above-referenced description of services is not intended to be

exhaustive of the scope of PSZJ’s services rendered on behalf of the Committee. A full

accounting of all services rendered on behalf of the Committee during the Fee Period is



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contained in the monthly fee statements attached hereto as Exhibits B, C, and D, and specifically

in the invoices attached to such monthly fee statements.

                   27.          As contained in the time records in the attached invoices, PSZJ has

expended a total of 432.40 hours during the Fee Period representing the Committee in this case.

The value of the services rendered to the Committee by PSZJ is $315,080.00 and PSZJ has

incurred actual and necessary out-of-pocket expenses in the amount of $4,432.65 during the Fee

Period in connection with such professional services.

                          Professional Services Rendered During the Fee Period

                   28.          The value of the professional services rendered to the Committee during

the Fee Period has been billed at rates normally charged by PSZJ for comparable services

performed for other clients, subject to an $800/hour cap for attorneys working in this case and a

$300/hour cap for paraprofessionals working in this case.

                   29.          PSZJ has attempted to avoid any duplication of services by its

professionals in rendering services. When more than one professional participated in any

conference or hearing, such joint participation was necessary because of the complexity of the

legal issues involved, the various legal disciplines required, or the need to familiarize the

professional with such matters so that he or she could independently perform further essential

services in connection with this case.

                   Actual and Necessary Expenses Incurred During the Fee Period

                   30.          During the Fee Period, PSZJ has incurred actual and necessary out-of-

pocket expenses in the total amount of $4,432.65. PSZJ customarily charges $0.10 per page for




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photocopying expense and $0.10 per page for scanning and printing charges. PSZJ’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZJ summarizes each client’s photocopying charges on a daily basis.

                   31.          With respect to providers of on-line legal research (e.g. LEXIS), PSZJ

charges the standard usage rates these providers charge for computerized legal research. PSZJ

bills its clients the actual amount charged by such service providers, with no premium. Any

volume discount received by PSZJ is passed on to the client.

                   32.          PSZJ believes the foregoing rates are the market rates that the majority of

law firms charge clients for such services. In addition, PSZJ believes that such charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.
                                                       Notice

                   33.          Notice of this application is being given to (a) the Debtor, (b) the Debtor’s

counsel, (c) the U.S. Trustee, and (d) those parties who have appeared in this case or have

requested notice pursuant to Bankruptcy Rule 2002.


                                                 No Prior Request

                   34.          No prior application for the relief requested herein has been made to this

or any other court.




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                   WHEREFORE, PSZJ respectfully requests the Court enter an order,

substantially in the form attached as Exhibit A: (i) allowing, on an interim basis, compensation

in the amount of $315,080.00 for reasonable and necessary professional services rendered and

reimbursement of actual and necessary costs and expenses in the amount of $4,432.65 for the

Fee Period, (ii) authorizing and directing the Debtor to pay the unpaid balance of such amounts

to PSZJ, and (iii) granting PSZJ all other just and proper relief.

                                               Respectfully submitted,

 Date: February 5, 2024                       PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ Ilan D. Scharf
                                              James I. Stang (admitted pro hac vice)
                                              Ilan D. Scharf
                                              Jason S. Pomerantz
                                              Karen Dine
                                              780 Third Avenue, 34th Floor
                                              New York, NY 10017
                                              Telephone: (212) 561-7700
                                              Facsimile: (212) 561-7777
                                              Email: jstang@pszjlaw.com
                                                          ischarf@pszjlaw.com
                                                          jspomerantz@pszjlaw.com
                                                          kdine@pszjlaw.com

                                              Counsel to the Official Committee of Unsecured
                                              Creditors




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                                                 VERIFICATION


STATE OF NEW YORK  :
                   :
COUNTY OF NEW YORK :


                   Ilan D. Scharf, after being duly sworn according to law, deposes and says:

                   a)           I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                   b)           I am familiar with the work performed on behalf of the Committee by the

lawyers and paraprofessionals of PSZJ.

                   c)           I certify pursuant to LR 2016-(1) (c) (2) that all expenses for which

reimbursement is sought were incurred on behalf of the Committee and on other person and that

the reimbursement, if allowed in full, will not exceed the amount applicant paid for the items.

                   d)           I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016-1 and the Interim Compensation Order entered November 9, 2023 and

believe that this Application substantially complies with such Rule and Order.


                                                                 /s/ Ilan D. Scharf
                                                                  Ilan D. Scharf




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                                           EXHIBIT A




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


 In re:                                                      Chapter 11

 THE ROMAN CATHOLIC DIOCESE OF                               Case No. 23-60507 (PGR)
 OGDENSBURG, NEW YORK,

                      Debtor.


                          ORDER GRANTING
            FIRST INTERIM FEE APPLICATION OF PACHULSKI
 STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES RENDERED
   AND REIMBURSEMENT OF EXPENSES INCURRED AS COUNSEL TO THE
  OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF THE DEBTOR FOR
        THE PERIOD AUGUST 17, 2023 THROUGH NOVEMBER 30, 2023

                   This matter is before the Court on the First Interim Fee Application of Pachulski

Stang Ziehl & Jones LLP for Compensation for Services Rendered and Reimbursement of

Expenses Incurred as Counsel to the Official Committee of Unsecured Creditors of the Debtor

for the Period August 17, 2023 through November 30, 2023 [Docket No. ___] (the

“Application”), filed by Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the

Committee. In the Application, PSZJ requests (i) allowance on an interim basis compensation in

the amount of $315,080.00 for reasonable and necessary professional services rendered and

reimbursement of actual and necessary costs and expenses in the amount of $4,432.65 for the

Fee Period of August 17, 2023 through November 30, 2023, and (ii) authorizing and directing

the Debtor to pay the unpaid balance of such amounts to PSZJ.

                   The Court, having considered the Application and notice of the Application

appearing adequate, and having convened a hearing on ________ ___, 2024 and being otherwise




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duly advised in the premises, determines that the Application should be, and hereby is

GRANTED. Accordingly,

                   IT IS THEREFORE ORDERED as follows:

         1.        The Application is GRANTED as set forth herein.

         2.        PSZJ’s compensation for professional services rendered during the period August

17, 2023 through November 30, 2023 (the “Fee Period”) is allowed on an interim basis in the

amount of $315,080.00.

         3.        Reimbursement of PSZJ’s expenses incurred during the Fee Period is allowed on

an interim basis in the amount of $4,432.65.

         4.        The Debtor is directed to pay PSZJ the amount of $315,080.00 for professional

services rendered and $4,432.65 for reimbursement of expenses incurred during the Fee Period,

less any amount previously paid prior to entry of this Order.

         5.        The allowance of compensation and reimbursement of expenses pursuant to this

Order is without prejudice to PSZJ’s right to seek additional compensation for services

performed and expenses incurred during the Fee Period, which were not processed at the time of

the Application.

         6.        This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.


                                                    ###




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


  NOTICE OF FILING OF FIRST MONTHLY FEE STATEMENT OF PACHULSKI
STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES RENDERED
AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE
   OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF
              OGDENSBURG, NEW YORK FOR THE PERIOD
             AUGUST 17, 2023 THROUGH SEPTEMBER 30, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its First Monthly Fee Statement for Compensation for Services Rendered and Reimbursement of

Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman Catholic

Diocese of Ogdensburg, New York for the Period August 17, 2023 Through September 30, 2023,

a copy of which is attached hereto and is hereby served upon you.




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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


FIRST MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
 FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
     EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
  CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
   YORK FOR THE PERIOD AUGUST 17, 2023 THROUGH SEPTEMBER 30, 2023

    Name of Applicant                                       Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services             Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                      August 17, 20231

    Period for which compensation and                       8/17/23-9/30/23
    Reimbursement is sought:

    Amount of compensation sought as well as                $181,889.50
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as               $808.82
    actual, reasonable and necessary:



This is a monthly fee statement. It is the first monthly fee statement by Pachulski Stang Ziehl &
Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                                                                  10100 Santa Monica Blvd.
               PACHULSKI                                          13th Floor
               STANG                                              Los Angeles, CA 90067
               ZIEHL &
               JONES


Diocese of Ogdensburg O.C.C.                                      September 30, 2023
IDS                                                               Invoice 135073
                                                                  Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2023

              FEES                                                 $181,889.50
              EXPENSES                                                $808.82
              TOTAL CURRENT CHARGES                                $182,698.32

              TOTAL BALANCE DUE                                    $182,698.32




   WWW.PSZJLAW.COM                  LOS ANGELES   SAN FRANCISCO   DELAWARE       NEW YORK     TEXAS
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Summary of Services by Professional
ID       Name                                Title                     Rate    Hours            Amount
IAWN     Nasatir, Iain A.W.                  Partner                 800.00     15.80       $12,640.00
IDS      Scharf, Ilan D.                     Partner                 800.00     26.70       $21,360.00
JIS      Stang, James I.                     Partner                 800.00      1.40        $1,120.00
JSP      Pomerantz, Jason S.                 Partner                 800.00     39.50       $31,600.00
BMM      Michael, Brittany Mitchell          Counsel                 800.00     11.40        $9,120.00
EG       Gray, Erin                          Counsel                 800.00     53.40       $42,720.00
KBD      Dine, Karen B.                      Counsel                 800.00     71.60       $57,280.00
KLL      LaBrada, Kerri L.                   Paralegal               545.00     11.10        $6,049.50
                                                                     230.90                $181,889.50
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Summary of Services by Task Code
Task Code       Description                                               Hours                  Amount
AA              Asset Analysis and Recovery                               61.30               $48,963.50
BL              Bankruptcy Litigation                                     31.80               $25,312.50
CA              Case Administration                                       46.90               $36,092.00
CO              Claims Administration and Objections                      23.40               $18,669.00
GC              General Creditors' Committee                              17.10               $13,680.00
IC              Insurance Coverage                                        16.70               $13,360.00
MC              Meetings of and Communications with Creditors              6.60                $5,280.00
ME              Mediation                                                  0.80                  $640.00
RP              PSZJ Retention                                            10.60                $8,123.00
RPO             Other Professional Retention                               4.40                $2,729.50
SL              Stay Litigation                                           11.30                $9,040.00
                                                                         230.90              $181,889.50
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Summary of Expenses
Description                                                                                     Amount
Delivery/Courier Service                                                                         $15.00
Federal Express                                                                                  $26.81
Lexis/Nexis- Legal Research                                                                      $21.91
Litigation Support Vendors                                                                      $500.00
Pacer - Court Research                                                                           $41.60
Reproduction Expense - @0.20 per page                                                           $165.90
Reproduction Expense - @0.10 per page                                                            $37.60
                                                                                                $808.82
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                                                                                Hours     Rate          Amount

Asset Analysis and Recovery
08/18/2023 BMM       AA      Prepare report on status of discovery for team.     1.70   800.00       $1,360.00
08/18/2023 JSP       AA      Call with B. Michael regarding discovery            0.50   800.00          $400.00
                             status

08/18/2023 KBD       AA      Analyze first day affidavits regarding structure    1.80   800.00       $1,440.00
                             and financial information relating to Diocese
                             and affiliates.
08/21/2023 BMM       AA      Review pre-petition status of discovery.            1.00   800.00          $800.00
08/21/2023 BMM       AA      Call with E. Gray and K. Dine regarding             1.00   800.00          $800.00
                             discovery overview and other case issues.
08/21/2023 BMM       AA      Review emails regarding discovery from and          0.50   800.00          $400.00
                             to the Diocese.
08/21/2023 BMM       AA      Organize discovery already produced and             0.80   800.00          $640.00
                             confidentiality agreements.
08/21/2023 BMM       AA      Call with J. Pomerantz regarding Ogdensburg         0.90   800.00          $720.00
                             background and discovery.
08/21/2023 BMM       AA      Call with K. Dine regarding discovery matters.      0.20   800.00          $160.00
08/21/2023 EG        AA      Zoom meeting with Karen Dine and Brittany           1.00   800.00          $800.00
                             Michael to discuss document database status
                             and transition issues
08/21/2023 JSP       AA      Call with B. Michael regarding discovery            0.90   800.00          $720.00
                             matters
08/21/2023 JSP       AA      Review discovery chart in preparation for call      0.40   800.00          $320.00
                             with B. Michael
08/21/2023 JSP       AA      Begin analysis - deposit and loan fund              1.60   800.00       $1,280.00
                             motion/interim order
08/21/2023 JSP       AA      Call with K. Dine regarding Deposit & Loan          0.30   800.00          $240.00
                             Fund Motion/Interim Order
08/21/2023 KBD       AA      Telephone call with J. Pomerantz regarding          0.30   800.00          $240.00
                             financing related motions
08/21/2023 KBD       AA      Telephone call with E. Gray and B. Michael          1.00   800.00          $800.00
                             regarding asset information discovery
08/21/2023 KBD       AA      Analyze issues relating to financial                0.40   800.00          $320.00
                             information discovery
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                                                                               Hours     Rate          Amount
08/21/2023 KBD       AA      Call with B. Michael regarding discovery           0.20   800.00          $160.00
                             matters

08/22/2023 BMM       AA      Organized documents produced pre-petition          0.90   800.00          $720.00
                             (with K. Dine in part).

08/22/2023 JSP       AA      Analysis regarding discovery                       0.80   800.00          $640.00
                             requested/pending

08/22/2023 KBD       AA      Call with B. Michael regarding discovery           0.50   800.00          $400.00
08/23/2023 JSP       AA      Further analysis in connection with discovery      0.80   800.00          $640.00
                             propounded, received and outstanding

08/23/2023 JSP       AA      Prepare for call regarding deposit and loan        0.90   800.00          $720.00
                             fund motion
08/24/2023 EG        AA      Draft OCC confidentiality agreement to             1.50   800.00       $1,200.00
                             protect survivor information
08/24/2023 JSP       AA      Notes in preparation for call regarding Deposit    1.40   800.00       $1,120.00
                             and Loan Fund
08/24/2023 JSP       AA      Call with K. Dine regarding Deposit and Loan       0.40   800.00          $320.00
                             Fund
08/24/2023 JSP       AA      Analysis regarding outstanding discovery           0.70   800.00          $560.00
                             issues
08/24/2023 JSP       AA      Correspondence (B. Michael) regarding              0.10   800.00           $80.00
                             discovery
08/24/2023 KBD       AA      Call with Jason S. Pomerantz regarding             0.40   800.00          $320.00
                             deposit and loan fund.
08/25/2023 JSP       AA      Further review of deposit and loan fund            0.60   800.00          $480.00
                             pleadings
08/25/2023 JSP       AA      Correspondence to Debtor's counsel regarding       0.30   800.00          $240.00
                             information/documentation request in
                             connection with deposit and loan fund
                             pleadings
08/25/2023 KBD       AA      Prepare information request to Diocese.            0.20   800.00          $160.00
08/27/2023 KBD       AA      Analyze documents produced by Diocese.             1.60   800.00       $1,280.00
08/28/2023 JSP       AA      Attention to discovery matters                     0.70   800.00          $560.00
08/28/2023 KBD       AA      Prepare case confidentiality agreement.            0.10   800.00           $80.00
08/29/2023 JSP       AA      Notes regarding follow up issues concerning        0.80   800.00          $640.00
                             345 and DLF and DTF motions
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Client 18493.00002                                                                  September 30, 2023


                                                                            Hours     Rate          Amount
08/29/2023 KBD       AA      Prepare case confidentiality agreement.         0.80   800.00          $640.00
08/30/2023 BMM       AA      Review document production.                     0.60   800.00          $480.00
08/30/2023 JSP       AA      Confer with G. Walter regarding DLF and         0.10   800.00           $80.00
                             DTF

08/30/2023 JSP       AA      Correspondence regarding budget inforamtion     0.20   800.00          $160.00
08/30/2023 JSP       AA      Review correspondence regarding discovery       0.40   800.00          $320.00
                             issues

08/31/2023 BMM       AA      Call with K. Dine regarding document review.    0.40   800.00          $320.00
08/31/2023 BMM       AA      Review draft NDA.                               0.50   800.00          $400.00
08/31/2023 JSP       AA      Confer with G. Walter regarding DLF and         0.40   800.00          $320.00
                             DTF

08/31/2023 JSP       AA      Analysis regarding DLF and DTF based on         0.70   800.00          $560.00
                             recent call/correspondence

08/31/2023 KBD       AA      Call with B. Michael regarding document         0.40   800.00          $320.00
                             review.
08/31/2023 KBD       AA      Call with B. Michael regarding document         0.40   800.00          $320.00
                             review
09/01/2023 BMM       AA      Call with J. Pomerantz regarding Ogdensburg     0.20   800.00          $160.00
                             first days and discovery.
09/01/2023 JSP       AA      Call with B. Michael regarding 345 motion       0.20   800.00          $160.00
                             and deposit and loan fund motion
09/04/2023 JSP       AA      Attention to discovery issues                   0.80   800.00          $640.00
09/05/2023 JSP       AA      Analysis regarding deposit and loan fund        1.40   800.00       $1,120.00
                             issues
09/05/2023 KBD       AA      Analyze documents produced by Diocese           2.40   800.00       $1,920.00
                             relating to finance and administration.
09/06/2023 JSP       AA      Prepare for call regarding discovery and        0.40   800.00          $320.00
                             pending motions
09/07/2023 JSP       AA      Analysis regarding discovery, pending and       0.90   800.00          $720.00
                             additional requests
09/08/2023 JSP       AA      Confer with G. Walter regarding accounting      0.10   800.00           $80.00
                             data related to DLF and DTF

09/08/2023 KBD       AA      Prepare document request relating to Deposit    0.30   800.00          $240.00
                             and Loan and Trust.
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                                                                             Hours     Rate          Amount
09/10/2023 JSP       AA      Correspondence to I. Scharf regarding DLF        0.60   800.00          $480.00
                             and DTF

09/11/2023 IAWN AA           Review draft email regarding discovery.          0.10   800.00           $80.00
09/11/2023 JSP       AA      Correspondence regarding further information     0.80   800.00          $640.00
                             for DTF and DLF

09/12/2023 JSP       AA      Attention to discovery issues                    0.90   800.00          $720.00
09/13/2023 IDS       AA      Revise NDA                                       1.80   800.00       $1,440.00
09/13/2023 JSP       AA      Call with K. Dine regarding discovery issues     0.40   800.00          $320.00
09/13/2023 JSP       AA      Correspondence to/from M. Babcock                0.30   800.00          $240.00
                             regarding deposit and loan fund

09/13/2023 JSP       AA      Attention to discovery issues                    0.40   800.00          $320.00
09/13/2023 JSP       AA      Correspondence to/from G. Walter regarding       0.10   800.00           $80.00
                             deposit and loan fund information

09/13/2023 JSP       AA      Review information from G. Walter regarding      0.30   800.00          $240.00
                             deposit and loan fund
09/13/2023 KBD       AA      Call with Jason S. Pomerantz regarding issues    0.40   800.00          $320.00
                             relating to discovery.
09/13/2023 KBD       AA      Analyze issues relating to discovery.            0.30   800.00          $240.00
09/13/2023 KLL       AA      Review correspondence on documents               0.30   545.00          $163.50
                             received for Everlaw.
09/14/2023 EG        AA      Revise confidentiality agreement                 0.50   800.00          $400.00
09/14/2023 JSP       AA      Analysis regarding documents in connection       0.90   800.00          $720.00
                             with deposit and loan fund
09/14/2023 KBD       AA      Revisions to draft NDA.                          0.30   800.00          $240.00
09/15/2023 JSP       AA      Correspondence to G. Walter regarding            0.10   800.00           $80.00
                             deposit and loan fund information
09/15/2023 JSP       AA      Attention to discovery issues                    0.80   800.00          $640.00
09/15/2023 KBD       AA      Analyze information about Diocese structure      1.00   800.00          $800.00
                             and financials.
09/18/2023 JSP       AA      Analysis regarding objection to deposit and      0.90   800.00          $720.00
                             loan fund motion, including additional
                             information needed to evaluate same

09/19/2023 JSP       AA      Attention to discovery issues; begin             1.60   800.00       $1,280.00
                             preparation for call regarding same
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                                                                             Hours     Rate          Amount
09/20/2023 EG        AA      Draft email to Karen Dine re: Everlaw access.    0.10   800.00           $80.00
09/20/2023 JSP       AA      Call with K. Dine regarding deposit and loan     0.20   800.00          $160.00
                             fund objection

09/20/2023 JSP       AA      Call with K. Dine and BRG Group regarding        0.50   800.00          $400.00
                             discovery

09/20/2023 JSP       AA      Prepare for call regarding discovery             0.60   800.00          $480.00
09/20/2023 KBD       AA      Call with Jason Pomerantz regarding              0.20   800.00          $160.00
                             discovery issues.

09/20/2023 KBD       AA      Prepare discovery requests.                      0.70   800.00          $560.00
09/20/2023 KBD       AA      Call with Jason Pomerantz and BRG team           0.50   800.00          $400.00
                             regarding discovery.

09/21/2023 JSP       AA      Attention to discovery issues                    1.70   800.00       $1,360.00
09/22/2023 KBD       AA      Analyze documents produced in discovery          0.80   800.00          $640.00
                             regarding diocese operations.
09/26/2023 JSP       AA      Analysis regarding discovery                     0.70   800.00          $560.00
09/27/2023 JSP       AA      Call with M. Babcock and K. Dine regarding       0.30   800.00          $240.00
                             discovery
09/27/2023 JSP       AA      Prepare for call with M. Babcock and K. Dine     0.80   800.00          $640.00
                             regarding discovery
09/27/2023 KBD       AA      Call w/ M. Babcock and J. Pomerantz              0.30   800.00          $240.00
                             regarding discovery.
09/28/2023 KBD       AA      Analyze insurer pleadings relating to            0.40   800.00          $320.00
                             discovery and mediation.
09/29/2023 JSP       AA      Attention to discovery issues                    0.90   800.00          $720.00
09/29/2023 KBD       AA      Prepare comments to statement regarding          0.30   800.00          $240.00
                             insurer 2004.
09/29/2023 KBD       AA      Analyze Diocese organizational documents.        0.70   800.00          $560.00
                                                                             61.30               $48,963.50

Bankruptcy Litigation
08/18/2023 BMM       BL      Meeting with team regarding responses and        1.10   800.00          $880.00
                             next steps in case and first days.
08/18/2023 IAWN BL           Attend PSZJ team meeting re first day            1.00   800.00          $800.00
                             motions issues
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                                                                            Hours     Rate          Amount
08/18/2023 JSP       BL      Call with PSZJ team regarding responses to      0.70   800.00          $560.00
                             first day motions for party.

08/18/2023 KBD       BL      Call with PSZJ team to strategize regarding     1.10   800.00          $880.00
                             first day and other motions.

08/18/2023 KBD       BL      Analyze motion regarding Deposit and Loan       0.30   800.00          $240.00
                             Fund.

08/22/2023 JSP       BL      Continue review/analysis in connection with     1.60   800.00       $1,280.00
                             Deposit & Loan Fund

08/23/2023 IAWN BL           Analyze declarations of Rev. Kevin O'Brien      0.60   800.00          $480.00
                             and Mark Mashaw
08/24/2023 KBD       BL      Analyze motion relating to deposit and loan     0.80   800.00          $640.00
                             fund.
08/28/2023 EG        BL      Draft email to Karen Dine re: September 5       0.10   800.00           $80.00
                             hearings
08/29/2023 EG        BL      Update docket and WIP in connection with        0.90   800.00          $720.00
                             entry of second interim orders.
08/29/2023 EG        BL      Draft email to PSZJ Team re: entry of second    0.20   800.00          $160.00
                             interim orders and upcoming hearing dates.
08/31/2023 JSP       BL      Attention to 345 motion                         0.40   800.00          $320.00
08/31/2023 KBD       BL      Call with Jason Pomerantz regarding DLF         0.20   800.00          $160.00
                             motion.
09/01/2023 IDS       BL      Detailed review and analysis of first day       1.40   800.00       $1,120.00
                             declaration and DLF/DTF motion.
09/01/2023 JSP       BL      Attention to discovery matters                  0.40   800.00          $320.00
09/01/2023 JSP       BL      Further review of 345 motion                    0.30   800.00          $240.00
09/04/2023 BMM       BL      Review motion to continue bank accounts.        0.20   800.00          $160.00
09/04/2023 JSP       BL      Correspondence regarding bank account           0.20   800.00          $160.00
                             motion
09/05/2023 KBD       BL      Analyze legal issues relating to Committee      0.60   800.00          $480.00
                             standing.

09/12/2023 IDS       BL      Call with Walter regarding Norfolk Parish       0.40   800.00          $320.00
09/12/2023 JSP       BL      Confer with M. Babcock regarding deposit        0.20   800.00          $160.00
                             and loan fund motion

09/15/2023 KBD       BL      Analyze DLF and Bank Account motions and        0.50   800.00          $400.00
                             proposed orders.
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                                                                                 Hours     Rate          Amount
09/20/2023 EG        BL      Email Myra re: uploading orders re: DLF              0.10   800.00           $80.00
                             Motion and Insurance Motion.

09/20/2023 EG        BL      Convert various orders with respect to first         0.50   800.00          $400.00
                             day motions to prepare objections.

09/20/2023 JSP       BL      Review draft deposit and loan fund objection         0.90   800.00          $720.00
09/20/2023 JSP       BL      Review draft response to 345 motion                  0.30   800.00          $240.00
09/20/2023 KBD       BL      Prepare reservation of rights/objections to first    1.80   800.00       $1,440.00
                             day motions.

09/22/2023 KBD       BL      Telephone calls with I. Scharf regarding             0.20   800.00          $160.00
                             strategy relating to motions.

09/22/2023 KBD       BL      Call with Bond Schoeneck, I. Scharf and J.           1.20   800.00          $960.00
                             Pomerantz regarding pending motions.
09/22/2023 KBD       BL      Revisions to objection/reservation to DLF/345        0.40   800.00          $320.00
                             Motions.
09/26/2023 EG        BL      Finalize for filing and service the Committee's      6.50   800.00       $5,200.00
                             response to the Debtor's first and second day
                             motions: Docket 16 (deposit and loan fund);
                             Docket 44 (mediation); Docket 75 (bar date);
                             Docket 17 (insurance policies); Docket 18
                             (automatic stay).

09/26/2023 KBD       BL      Prepare Objections to Diocese motions and            1.80   800.00       $1,440.00
                             related exhibits for filing.
09/26/2023 KBD       BL      Telephone calls with E. Gray coordinating            0.30   800.00          $240.00
                             objections for filing.
09/26/2023 KBD       BL      Telephone call with E. Gray regarding filings        0.40   800.00          $320.00
                             in Diocese of Ogdensburg and next steps.
09/26/2023 KLL       BL      Review limited objection to Debtors motion to        0.20   545.00          $109.00
                             authorize to continue deposit and loan fund.
09/26/2023 KLL       BL      Review response to Debtors motion to refer           0.30   545.00          $163.50
                             certain matters to mediation.
09/27/2023 EG        BL      Review docket and email Karen Dine and I. I.         0.30   800.00          $240.00
                             Scharf with third party objections to Debtor's
                             first and second day motions: Docket 16
                             (deposit and loan fund); Docket 44
                             (mediation); Docket 75 (bar date); Docket 17
                             (insurance policies); Docket 18 (automatic
                             stay).
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                                                                                Hours     Rate          Amount
09/28/2023 IDS       BL      Call w/K. Dine and G. Walter regarding              0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 IDS       BL      Call w/K. Dine and G. Walter regarding              0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 KBD       BL      Call with I. Scharf and G. Walter regarding         0.30   800.00          $240.00
                             outstanding motions.

09/28/2023 KBD       BL      Call with I. Scharf regarding outstanding           0.10   800.00           $80.00
                             motions.

09/28/2023 KBD       BL      Analyze Debtor proposed changes to orders           0.40   800.00          $320.00
                             relating to DLF, insurance and stay.
09/28/2023 KBD       BL      Analyze Debtor response relating to 345             0.30   800.00          $240.00
                             Motion.
09/29/2023 EG        BL      Draft, edit and prepare for filing the statement    1.70   800.00       $1,360.00
                             of the Official Committee of Unsecured
                             Creditors re: the Moving Insurer's 2004
                             Motion [Docket No. 138}
                                                                                31.80               $25,312.50

Case Administration
08/18/2023 EG        CA      Zoom team meeting to discuss roles and              0.70   800.00          $560.00
                             responsibilities in the case
08/18/2023 JIS       CA      Organizational call with PSZJ team, including       1.00   800.00          $800.00
                             review of first day motions.
08/18/2023 KBD       CA      Analyze interim order regarding sealing             0.20   800.00          $160.00
                             documents.
08/21/2023 BMM       CA      Email communications with team regarding            0.70   800.00          $560.00
                             case administration.
08/21/2023 EG        CA      Prepare notice of appearance for PSZJ               0.30   800.00          $240.00
08/21/2023 EG        CA      Prepare initial work in progress (WIP) list and     1.50   800.00       $1,200.00
                             contact list
08/21/2023 EG        CA      Compile work in progress list and contact list      1.40   800.00       $1,120.00
08/21/2023 EG        CA      prepare WIP list, email clusters and contact        1.80   800.00       $1,440.00
                             lists for first meeting and case
08/21/2023 KBD       CA      Analyze correspondence among PSZJ and               0.10   800.00           $80.00
                             Bond, Schoeneck & King, PLLC regarding
                             ongoing case issues.
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                                                                                 Hours     Rate          Amount
08/22/2023 EG        CA      review docket to prepare work in progress list       5.50   800.00       $4,400.00
                             (1.50); update work in progress list based on
                             docket review (1.50); calendar WIP list items
                             (.50); listen to audio files of second day
                             hearings to prepare work in progress list (.70);
                             update work in progress list based on audio
                             file review of second day hearings (1.0);
                             update contact list (.30)
08/22/2023 KBD       CA      Review correspondence regarding status               0.10   800.00           $80.00
                             between PSZJ and Bond, Schoeneck & King,
                             PLLC

08/22/2023 KLL       CA      Pull material for E. Gray for further review.        0.30   545.00          $163.50
08/22/2023 KLL       CA      Review information for upcoming 341                  0.20   545.00          $109.00
                             meeting for K. Dine.

08/22/2023 KLL       CA      Prepare J. Stang pro hac motion.                     1.10   545.00          $599.50
08/22/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/23/2023 EG        CA      Finalize WIP list (2.30); finalize critical dates    2.80   800.00       $2,240.00
                             list (.50)

08/23/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/23/2023 KLL       CA      Correspond on orders for certificate of good         0.40   545.00          $218.00
                             standing for J. Stang and K. Dine pro hac vice
                             motions.
08/24/2023 EG        CA      update WIP and critical dates listings               0.50   800.00          $400.00
08/24/2023 IAWN CA           Telephone call with team re WIP                      0.80   800.00          $640.00
08/24/2023 IAWN CA           Review WIP list and exchange emails with             0.20   800.00          $160.00
                             Erin Gray re same
08/25/2023 EG        CA      Update case calendar.                                0.10   800.00           $80.00
08/25/2023 KLL       CA      Assist with information on admission to              0.20   545.00          $109.00
                             NDNY.

08/28/2023 EG        CA      Update work in progress list.                        0.90   800.00          $720.00
08/28/2023 EG        CA      Update case calendar.                                0.10   800.00           $80.00
08/28/2023 KBD       CA      Prepare and review correspondence w/counsel          0.10   800.00           $80.00
                             for Diocese on ongoing case matters.

08/28/2023 KLL       CA      Update critical dates memo.                          0.30   545.00          $163.50
08/29/2023 KBD       CA      Review orders entered in case.                       0.20   800.00          $160.00
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08/29/2023 KLL       CA      Receive and update pro hac for J. Stang with         0.20   545.00          $109.00
                             certificate of good standing.

08/30/2023 KBD       CA      Review correspondence with Diocese counsel.          0.10   800.00           $80.00
09/01/2023 KLL       CA      Review current filings and update critical           0.20   545.00          $109.00
                             dates memo.

09/05/2023 EG        CA      Review and revise application to admit James         0.30   800.00          $240.00
                             J. Stang pro hac vice

09/05/2023 EG        CA      Update work in progress list.                        0.30   800.00          $240.00
09/06/2023 EG        CA      Update work-in-progess list in preparation for       0.50   800.00          $400.00
                             PSZJ team WIP call at 530 pm ET

09/06/2023 EG        CA      PSZJ team WIP call (K. Dine, I. Scharf, I.           1.00   800.00          $800.00
                             Nasatir J. Pomerantz, E. Gray)
09/06/2023 IDS       CA      Call with James I. Stang regarding staffing          0.30   800.00          $240.00
                             and workflow
09/06/2023 IDS       CA      Email to PSZJ team regarding tasks and               0.30   800.00          $240.00
                             workflow
09/06/2023 JSP       CA      Participate on call with I. Scharf, K. Dine and      1.00   800.00          $800.00
                             E. Gray regarding work in progress, including
                             discovery, pending motions and first meeting
                             of creditors
09/06/2023 KBD       CA      Strategize regarding outstanding issues and          1.00   800.00          $800.00
                             next steps with PSZJ team
09/07/2023 EG        CA      Update WIP.                                          0.40   800.00          $320.00
09/07/2023 EG        CA      Update calendar.                                     0.20   800.00          $160.00
09/08/2023 JSP       CA      Review correspondence from I. I. Scharf              0.30   800.00          $240.00
                             regarding case issues
09/13/2023 EG        CA      Revise work in progress list                         0.40   800.00          $320.00
09/13/2023 EG        CA      Update WIP List (including contacts, calendar        1.50   800.00       $1,200.00
                             and documents) in advance of 9/14 PSZJ
                             Team meeting

09/13/2023 EG        CA      Daft amended declaration of Jim J. Stang in          0.80   800.00          $640.00
                             connection with pro hac vice application (.40);
                             review local rules re: same (.20); draft email to
                             Myra Kulick re same (.10); draft email to J.
                             Stang re same (.10)
09/14/2023 EG        CA      Weekly Professionals WIP Call                        0.80   800.00          $640.00
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                                                                               Hours     Rate          Amount
09/14/2023 EG        CA      update work in progress list for professionals     0.50   800.00          $400.00
                             call

09/14/2023 JSP       CA      Call with PSZJ team regarding case issues          0.80   800.00          $640.00
09/14/2023 KBD       CA      Participate in PSZJ team meeting regarding         0.80   800.00          $640.00
                             case next steps relating to outstanding Diocese
                             motions.
09/14/2023 KLL       CA      Prepare notice of appearance re adversary          0.50   545.00          $272.50
                             matter.
09/14/2023 KLL       CA      Discussion with professionals on case matters      0.80   545.00          $436.00
                             and first days.
09/15/2023 EG        CA      Weekly call with state court counsel               0.50   800.00          $400.00
09/17/2023 KBD       CA      Revise proposed confidentiality agreement.         0.60   800.00          $480.00
09/18/2023 KLL       CA      Review correspondence and log onto Everlaw         0.30   545.00          $163.50
                             for uploading docuemtns received.
09/19/2023 KLL       CA      Revise notice of appearance to adversary case.     0.30   545.00          $163.50
09/20/2023 EG        CA      Update work in progress list.                      0.30   800.00          $240.00
09/20/2023 EG        CA      Follow up on Jim Stang's pro hac vice              0.50   800.00          $400.00
                             application
09/20/2023 KBD       CA      Prepare correspondence to counsel for the          0.30   800.00          $240.00
                             Debtor on outstanding case issues.
09/20/2023 KBD       CA      Revisions to draft confidentiality agreement.      0.20   800.00          $160.00
09/21/2023 EG        CA      Update work in progress list for weekly team       1.50   800.00       $1,200.00
                             call.

09/21/2023 EG        CA      Weekly work in progress call with Karen Dine       0.60   800.00          $480.00
                             and I. Scharf.

09/21/2023 KBD       CA      Participate in PSZJ call regarding discovery       0.60   800.00          $480.00
                             and next steps.

09/21/2023 KLL       CA      Finalize ECF submission for J. Stang per pro       0.20   545.00          $109.00
                             hac procedures.

09/22/2023 IDS       CA      Call w/ Bond Schoeneck, K. Dine and J.             1.20   800.00          $960.00
                             Pomerantz.
09/22/2023 JSP       CA      Call with S. Donato, G. Walter, S. Temes, C.       1.20   800.00          $960.00
                             Sullivan, I. Scharf and K. Dine regarding
                             various matters, including bar date, DLF/DTF,
                             mediation
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09/28/2023 EG        CA      Weekly work in progress call with Karen Dine       0.50   800.00          $400.00
                             and I. I. Scharf, Jason Pomerantz and I.
                             Nasatir.
09/28/2023 EG        CA      Update WIP for weekly work in progress call.       1.50   800.00       $1,200.00
09/28/2023 IAWN CA           Telephone call with team re WIP                    0.50   800.00          $400.00
09/28/2023 JSP       CA      Participate with PSZJ team on call regarding       0.50   800.00          $400.00
                             case status, including bar date, DLF/DTF,
                             discovery
09/28/2023 KBD       CA      Call with PSZJ team regarding outstanding          0.50   800.00          $400.00
                             issues and next steps.

                                                                               46.90               $36,092.00

Claims Administration and Objections
08/18/2023 KBD       CO      Analyze bar date motion.                           0.40   800.00          $320.00
08/19/2023 KBD       CO      Review notice of hearing re bar date and           0.10   800.00           $80.00
                             related correspondence

08/21/2023 KBD       CO      Revise draft of bar date order                     1.10   800.00          $880.00
08/22/2023 KBD       CO      Prepare comments to bar date documents             1.70   800.00       $1,360.00
08/24/2023 KBD       CO      Prepare comments to Bar Date Order.                0.60   800.00          $480.00
08/26/2023 KBD       CO      Analyze pleadings regarding claim objections.      0.40   800.00          $320.00
08/27/2023 KBD       CO      Prepare comments to Bar Date documents.            0.40   800.00          $320.00
08/28/2023 KBD       CO      Prepare comments to bar date order and             0.30   800.00          $240.00
                             related documents.

09/14/2023 IDS       CO      Revise Bar Date Order, Notice and Form             1.80   800.00       $1,440.00
09/14/2023 KBD       CO      Revisions to claims bar date papers.               0.30   800.00          $240.00
09/17/2023 KBD       CO      Revise bar date documents.                         0.20   800.00          $160.00
09/20/2023 KBD       CO      Call with I. Scharf regarding bar date matters.    0.10   800.00           $80.00
09/20/2023 KBD       CO      Revisions to bar date documents.                   0.20   800.00          $160.00
09/20/2023 KBD       CO      Prepare objection relating to bar date.            0.70   800.00          $560.00
09/21/2023 KBD       CO      Prepare objection to bar date.                     0.50   800.00          $400.00
09/21/2023 KBD       CO      Analyze legal issues relating to bar date.         1.70   800.00       $1,360.00
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                                                                              Hours     Rate          Amount
09/22/2023 KBD       CO      Analyze legal issues relating to bar date         0.60   800.00          $480.00
                             motion.

09/23/2023 KBD       CO      Prepare objection to bar date motion.             3.20   800.00       $2,560.00
09/23/2023 KBD       CO      Revise draft schedules to bar date order.         0.50   800.00          $400.00
09/26/2023 KLL       CO      Review limited objection to Debtors bar date      0.20   545.00          $109.00
                             motion.

09/27/2023 KBD       CO      Analyze pleadings filed by insurers regarding     0.80   800.00          $640.00
                             bar date.

09/27/2023 KBD       CO      Prepare reply to insurer bar date objections.     2.20   800.00       $1,760.00
09/28/2023 KBD       CO      Analyze legal issues regarding bar date raised    1.70   800.00       $1,360.00
                             by insurers.

09/28/2023 KBD       CO      Prepare draft reply regarding bar date issues.    2.40   800.00       $1,920.00
09/29/2023 KBD       CO      Revisions to Reply to insurers on Bar Date.       0.80   800.00          $640.00
09/29/2023 KBD       CO      Coordinate filing and transmission of Reply.      0.40   800.00          $320.00
09/29/2023 KBD       CO      Call with E. Gray regarding filing.               0.10   800.00           $80.00
                                                                              23.40               $18,669.00

General Creditors' Committee
08/18/2023 KBD       GC      Prepare and analyze correspondence among          0.30   800.00          $240.00
                             PSZJ, SCC and Committee regarding ongoing
                             case issues.
08/22/2023 KBD       GC      Call with B. Michael regarding SCC issue          0.10   800.00           $80.00
08/22/2023 KBD       GC      Revise propose agenda for Committee call          0.30   800.00          $240.00
08/22/2023 KBD       GC      Call with J. Stang regarding Committee            0.10   800.00           $80.00
                             meeting
08/23/2023 KBD       GC      Prepare for Committee meeting.                    0.70   800.00          $560.00
08/23/2023 KBD       GC      Draft committee by-laws.                          0.30   800.00          $240.00
08/23/2023 KBD       GC      Prepare correspondence for Committee on           0.10   800.00           $80.00
                             ongoing case issues.
08/24/2023 KBD       GC      Attention to preparation of NDA for               0.20   800.00          $160.00
                             Committee.

08/24/2023 KBD       GC      Participate in meeting of Committee and SCC       1.70   800.00       $1,360.00
                             regarding ongoing case issues.
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                                                                             Hours     Rate          Amount
08/24/2023 KBD       GC      Prepare minutes of Committee meeting.            0.20   800.00          $160.00
08/28/2023 EG        GC      Draft email to Kari Kozak re: committee          0.10   800.00           $80.00
                             communcations

08/28/2023 EG        GC      Draft email to Chuck Curts re: email clusters    0.10   800.00           $80.00
                             for committee communications

08/28/2023 IAWN GC           Review Erin Gray introduction to Committee       0.10   800.00           $80.00
08/28/2023 KBD       GC      Coordinate matters for next meeting of           0.20   800.00          $160.00
                             Committee with E. Gray (partial).

08/29/2023 IAWN GC           Review K. Dine summary to committee of           0.10   800.00           $80.00
                             status

08/29/2023 KBD       GC      Draft correspondence to Committee and SCC        0.10   800.00           $80.00
                             regarding ongoing case matters.
08/29/2023 KBD       GC      Coordinate matters for next meeting of           0.20   800.00          $160.00
                             Committee with E. Gray (partial).
09/06/2023 IDS       GC      Email to Committee regarding standing            0.20   800.00          $160.00
                             meeting
09/06/2023 IDS       GC      Email to SCC regarding standing counsel call     0.20   800.00          $160.00
09/07/2023 EG        GC      Compile documents to send to Committee for       0.30   800.00          $240.00
                             Monday's OCC meeting
09/08/2023 KBD       GC      Review correspondence with Committee and         0.10   800.00           $80.00
                             SCC.
09/11/2023 EG        GC      Attend weekly meeting of the Official            1.50   800.00       $1,200.00
                             Committee of Unsecured Creditors
09/11/2023 IDS       GC      Prepare for committee meeting                    0.60   800.00          $480.00
09/11/2023 IDS       GC      Attend committee meeting                         1.50   800.00       $1,200.00
09/11/2023 KBD       GC      Prepare for meeting of Committee and SCC         0.40   800.00          $320.00
                             regarding ongoing case issues.
09/11/2023 KBD       GC      Participate in meeting of Committee and SCC      1.50   800.00       $1,200.00
                             regarding ongoing case issues.
09/14/2023 IDS       GC      Committee professionals' meeting regarding       0.80   800.00          $640.00
                             case

09/15/2023 IDS       GC      Draft agenda for Committee meeting               0.60   800.00          $480.00
09/15/2023 IDS       GC      Review WIP list                                  0.40   800.00          $320.00
09/18/2023 EG        GC      Attend weekly committee call                     1.40   800.00       $1,120.00
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                                                                             Hours     Rate          Amount
09/20/2023 EG        GC      Edit minutes of 9/18/23 committee meeting.       0.50   800.00          $400.00
09/20/2023 KBD       GC      Review minutes of committee meeting.             0.10   800.00           $80.00
09/22/2023 KBD       GC      Call with SCC regarding ongoing case issues.     0.70   800.00          $560.00
09/29/2023 IDS       GC      Participate in call w/SCC and PSZJ on            0.70   800.00          $560.00
                             ongoing matters.

09/29/2023 KBD       GC      Participate in call with SCC and PSZJ on         0.70   800.00          $560.00
                             ongoing matters.

                                                                             17.10               $13,680.00

Insurance Coverage
08/18/2023 KBD       IC      Call with counsel for Arrowood and J. Bair       0.20   800.00          $160.00
                             regarding 2004 motion.

08/18/2023 KBD       IC      Attention to notice of adjournment of hearing    0.20   800.00          $160.00
                             and related correspondence.

08/23/2023 IAWN IC           Review coverage chart, policies and coverage     3.40   800.00       $2,720.00
                             letters produced by Diocese of Ogdensburg
08/23/2023 IAWN IC           Review first day motion for insurance            0.80   800.00          $640.00
08/23/2023 IAWN IC           Review first day motion re structure and PSIP    0.80   800.00          $640.00
08/24/2023 IAWN IC           Review file room re policies and inventory       1.50   800.00       $1,200.00
                             same
08/25/2023 EG        IC      Review documents in Everlaw to compile           0.50   800.00          $400.00
                             insurance and PSIP documents for I. Nasatir's
                             review in connection with the Debtor's
                             Insurance Motion and Mediation Motion in
                             insurance adversary
08/25/2023 IAWN IC           Review Everlaw documents and motions re          2.50   800.00       $2,000.00
                             PSIP
08/26/2023 KBD       IC      Review derivative standing motion for filing.    0.30   800.00          $240.00
09/01/2023 IAWN IC           Review Century 2004 in Oakland re statics in     0.30   800.00          $240.00
                             Diocese of Ogdensburg

09/01/2023 IDS       IC      Review first day declaration and insurance       1.80   800.00       $1,440.00
                             motion

09/11/2023 IAWN IC           Review insurance motion and declarations in      0.90   800.00          $720.00
                             support

09/11/2023 IAWN IC           Review Everlaw insurance documents               0.20   800.00          $160.00
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                                                                             Hours     Rate          Amount
09/11/2023 IAWN IC           Analyze and draft lengthy recommendation re      1.20   800.00          $960.00
                             insurance motion to Diocese of Ogdensburg
                             team
09/14/2023 EG        IC      Research re: insurance adversary and draft       0.50   800.00          $400.00
                             email re: same
09/20/2023 IAWN IC           Review insurance motion order and send           0.80   800.00          $640.00
                             revised language to I. Scharf and E. Gray
09/27/2023 KBD       IC      Analyze pleadings filed by insurers regarding    0.30   800.00          $240.00
                             discovery.
09/28/2023 EG        IC      Draft Motion to Intervene in insurance           0.50   800.00          $400.00
                             adversary.
                                                                             16.70               $13,360.00

Meetings of and Communications with Creditors
08/22/2023 JSP       MC      Correspondence regarding meeting of              0.10   800.00           $80.00
                             creditors
08/23/2023 KBD       MC      Participate in telephonic 341 meeting.           0.10   800.00           $80.00
09/07/2023 EG        MC      Draft email to OUST re: 341(a).                  0.10   800.00           $80.00
09/11/2023 IDS       MC      Prepare for 341 meeting                          2.80   800.00       $2,240.00
09/11/2023 IDS       MC      Attend 341 meeting                               3.50   800.00       $2,800.00
                                                                              6.60                $5,280.00

Mediation
08/18/2023 KBD       ME      Call with PSZJ team regarding mediation          0.20   800.00          $160.00
                             issues.
08/21/2023 JIS       ME      Call to B. Michael regarding mediator issues.    0.10   800.00           $80.00
08/21/2023 JIS       ME      Call to mediator candidate regarding             0.30   800.00          $240.00
                             availability for case.

09/26/2023 KBD       ME      Analyze response to mediation motion.            0.20   800.00          $160.00
                                                                              0.80                   $640.00

PSZJ Retention
08/25/2023 KLL       RP      Prepare PSZJ retention application.              1.40   545.00          $763.00
09/05/2023 EG        RP      Review and revise application to employ          0.70   800.00          $560.00
                             PSZJ.
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                                                                            Hours     Rate          Amount
09/05/2023 IDS       RP      Review and respond to email from Gray           0.40   800.00          $320.00
                             regarding PSZJ retention application

09/05/2023 KBD       RP      Analyze issues relating to PSZJ employment      0.10   800.00           $80.00
                             application.

09/05/2023 KBD       RP      Telephone call with E. Gray regarding PSZJ      0.10   800.00           $80.00
                             employment application.

09/06/2023 EG        RP      Draft email to J. Stang and I. Scharf with      0.30   800.00          $240.00
                             follow up questions regarding application to
                             employ PSZJ
09/07/2023 EG        RP      Revise application to employ PSZJ               0.80   800.00          $640.00
09/13/2023 EG        RP      Compile parties for conflicts checks for        1.80   800.00       $1,440.00
                             retention of professionals
09/14/2023 EG        RP      Revise retention application for PSZJ           1.00   800.00          $800.00
09/14/2023 IDS       RP      Review and revise conflicts list                1.10   800.00          $880.00
09/14/2023 IDS       RP      Review and revise PSZJ retention application    0.90   800.00          $720.00
09/15/2023 IDS       RP      Finalize PSZJ fee application                   1.50   800.00       $1,200.00
09/19/2023 EG        RP      Finalize and file PSZJ's employment             0.50   800.00          $400.00
                             application.
                                                                            10.60                $8,123.00

Other Professional Retention
08/21/2023 KLL       RPO     Review and prepare summary re employment        1.30   545.00          $708.50
                             applications Diocese retained.
09/13/2023 EG        RPO     draft email to K. LaBrada re:application to     0.10   800.00           $80.00
                             retain BRG

09/19/2023 KLL       RPO     Prepare BRG retention application.              1.80   545.00          $981.00
09/20/2023 EG        RPO     Draft email to Timothy Burns and Jesse Bair     0.10   800.00           $80.00
                             re: employment.

09/20/2023 EG        RPO     Draft email to Jesse Bair re: retention         0.10   800.00           $80.00
                             application

09/21/2023 EG        RPO     Edit application to retain BRG.                 1.00   800.00          $800.00
                                                                             4.40                $2,729.50
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                                                                               Hours     Rate          Amount

Stay Litigation
08/19/2023 KBD       SL      Research and analyze legal issues relating to      0.60   800.00          $480.00
                             motion for stay

08/19/2023 KBD       SL      Prepare objection to motion regarding stay         0.80   800.00          $640.00
08/21/2023 KBD       SL      Research and analyze legal issues regarding        2.20   800.00       $1,760.00
                             the automatic stay

08/21/2023 KBD       SL      Draft objection to Debtor motion regarding the     1.40   800.00       $1,120.00
                             automatic stay

08/22/2023 BMM       SL      Communication with debtor's counsel                0.30   800.00          $240.00
                             regarding plaintiff discovery issue (w/ K. Dine
                             in part).
08/23/2023 KBD       SL      Analyze issues relating to motion for stay.        0.60   800.00          $480.00
08/24/2023 KBD       SL      Analyze issues relating to Diocese stay            0.60   800.00          $480.00
                             motion.
09/01/2023 BMM       SL      Review stay motion                                 0.40   800.00          $320.00
09/13/2023 EG        SL      Review and comment on opposition to the            0.40   800.00          $320.00
                             Debtor's motion for "confirmation" of
                             automatic stay

09/13/2023 IDS       SL      Begin review and revisions of objection to         0.80   800.00          $640.00
                             stay motion
09/13/2023 KBD       SL      Prepare objection to motion relating to            1.80   800.00       $1,440.00
                             confirmation of the stay.
09/15/2023 IDS       SL      Continue revisions to stay motion                  1.10   800.00          $880.00
09/22/2023 KBD       SL      Revisions to objection to stay motion and          0.30   800.00          $240.00
                             order.
                                                                               11.30                $9,040.00

   TOTAL SERVICES FOR THIS MATTER:                                                           $181,889.50
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Expenses
08/21/2023 LN        18493.00002 Lexis Charges for 08-21-23                        21.91
08/22/2023 RE2       SCAN/COPY ( 17 @0.10 PER PG)                                   1.70
08/31/2023 OS        EVERLAW, INC.-91980. - Litigation Support Vendors            250.00
09/27/2023 DC        Mobile Parcel Carrier, Inv. 243700                            15.00
09/27/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                   3.20
09/27/2023 RE2       SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
09/27/2023 RE2       SCAN/COPY ( 196 @0.10 PER PG)                                 19.60
09/27/2023 RE2       SCAN/COPY ( 32 @0.10 PER PG)                                   3.20
09/28/2023 RE        ( 1432 @0.10 PER PG)                                         143.20
09/29/2023 FE        18493.00002 FedEx Charges for 09-29-23                        26.81
09/29/2023 RE        ( 40 @0.10 PER PG)                                             4.00
09/29/2023 RE        ( 43 @0.10 PER PG)                                             4.30
09/29/2023 RE        ( 144 @0.10 PER PG)                                           14.40
09/29/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60
09/29/2023 RE2       SCAN/COPY ( 16 @0.10 PER PG)                                   1.60
09/29/2023 RE2       SCAN/COPY ( 19 @0.10 PER PG)                                   1.90
09/29/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
09/29/2023 RE2       SCAN/COPY ( 12 @0.10 PER PG)                                   1.20
09/29/2023 RE2       SCAN/COPY ( 18 @0.10 PER PG)                                   1.80
09/30/2023 OS        Litigation Support Vendors. Everlaw, Inv. 93088              250.00
09/30/2023 PAC       Pacer - Court Research                                        41.60

   Total Expenses for this Matter                                            $808.82
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


      NOTICE OF FILING OF SECOND MONTHLY FEE STATEMENT OF
 PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC
        DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
              OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its Second Monthly Fee Statement for Compensation for Services Rendered and Reimbursement

of Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman

Catholic Diocese of Ogdensburg, New York for the Period October 1, 2023 Through October 31,

2023, a copy of which is attached hereto and is hereby served upon you.




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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


    SECOND MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
    LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
      OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
       YORK FOR THE PERIOD OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

    Name of Applicant                                       Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services             Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                      August 17, 20231

    Period for which compensation and                       10/1/23-10/30/23
    Reimbursement is sought:

    Amount of compensation sought as well as                $78,104.50
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as               $1,939.06
    actual, reasonable and necessary:



This is a monthly fee statement. It is the second monthly fee statement by Pachulski Stang Ziehl
& Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       November 20, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
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                                            Facsimile: (212) 561-7777
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                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                                                                  10100 Santa Monica Blvd.
               PACHULSKI                                          13th Floor
               STANG                                              Los Angeles, CA 90067
               ZIEHL &
               JONES


Diocese of Ogdensburg O.C.C.                                      October 31, 2023
IDS                                                               Invoice 135075
                                                                  Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2023

              FEES                                                  $78,104.50
              EXPENSES                                               $1,939.06
              TOTAL CURRENT CHARGES                                 $80,043.56

              BALANCE FORWARD                                      $182,698.32
              TOTAL BALANCE DUE                                    $262,741.88




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Summary of Services by Professional
ID       Name                                Title                     Rate    Hours            Amount
IAWN     Nasatir, Iain A.W.                  Partner                 800.00      1.10           $880.00
IDS      Scharf, Ilan D.                     Partner                 800.00     30.30       $24,240.00
IDS      Scharf, Ilan D.                     Partner                   0.00      9.90              $0.00
JIS      Stang, James I.                     Partner                 800.00      1.50        $1,200.00
JSP      Pomerantz, Jason S.                 Partner                 800.00     21.90       $17,520.00
EG       Gray, Erin                          Counsel                 800.00     14.40       $11,520.00
KBD      Dine, Karen B.                      Counsel                 800.00     27.00       $21,600.00
KLL      LaBrada, Kerri L.                   Paralegal               545.00      2.10        $1,144.50
                                                                     108.20                 $78,104.50
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Summary of Services by Task Code
Task Code       Description                                               Hours                  Amount
AA              Asset Analysis and Recovery                               32.90               $26,320.00
BL              Bankruptcy Litigation                                      6.10                $4,829.00
CA              Case Administration                                       14.30               $10,955.50
CO              Claims Administration and Objections                      11.90                $9,520.00
GC              General Creditors' Committee                               7.30                $5,840.00
HE              Hearings                                                  16.10               $12,880.00
IC              Insurance Coverage                                         2.60                $2,080.00
ME              Mediation                                                  2.70                $2,160.00
RP              PSZJ Retention                                             0.50                  $400.00
RPO             Other Professional Retention                               2.80                $2,240.00
SL              Stay Litigation                                            1.10                  $880.00
TR              Travel                                                     9.90                      $0.00
                                                                         108.20               $78,104.50
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Summary of Expenses
Description                                                                                     Amount
Auto Travel Expense                                                                             $344.77
Lexis/Nexis- Legal Research                                                                        $10.69
Litigation Support Vendors                                                                      $250.00
Reproduction Expense - @0.20 per page                                                              $24.30
Reproduction Expense - @0.10 per page                                                               $2.70
Transcript                                                                                   $1,306.60
                                                                                             $1,939.06
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                                                                             Hours      Rate          Amount

Asset Analysis and Recovery
10/03/2023 JSP       AA      Correspondence to G. Walter, S. Donato           0.10   800.00             $80.00
                             regarding DLF/DTF documents/information
                             requested
10/04/2023 JSP       AA      Confer with I. Scharf and K. Dine regarding      0.30   800.00           $240.00
                             Debtor's failure to respond to request for
                             DLT/DTF information
10/04/2023 JSP       AA      Correspondence to S. Donato, G. Walter and       0.50   800.00           $400.00
                             C. Sullivan regarding Debtor's failure to
                             respond to request for DLT/DTF information
10/04/2023 KBD       AA      Telephone call with J. Pomerantz regarding       0.10   800.00             $80.00
                             discovery issues.
10/04/2023 KBD       AA      Draft email regarding discovery.                 0.20   800.00           $160.00
10/05/2023 JSP       AA      Call with K. Dine, S. Donato, C. Sullivan, S.    0.40   800.00           $320.00
                             Temes and others regarding NDA and
                             DLF/DTF

10/05/2023 KBD       AA      Prepare comments to confidentiality              0.50   800.00           $400.00
                             agreement.

10/05/2023 KBD       AA      Call with J. Pomerantz regarding discovery       0.10   800.00             $80.00
                             issues.

10/05/2023 KBD       AA      Prepare for call with Bond, Schoeneck &          0.20   800.00           $160.00
                             King, PLLC regarding discovery.
10/05/2023 KBD       AA      Call with J. Pomerantz, S. Donato, G. Walter,    0.40   800.00           $320.00
                             C. Sullivan and S. Temes regarding discovery
                             and confidentiality agreement.
10/05/2023 KBD       AA      Correspondence with Bond, Schoeneck &            0.10   800.00             $80.00
                             King, PLLC regarding confidentiality
                             agreement.
10/08/2023 JSP       AA      Review correspondence from K. Dine and M.        0.80   800.00           $640.00
                             Babcock regarding discovery
10/09/2023 IDS       AA      Review schedules, other information regarding    1.80   800.00       $1,440.00
                             data requests.
10/09/2023 JSP       AA      Review correspondence regarding DLF/DTF          0.60   800.00           $480.00
10/10/2023 JSP       AA      Attention to discovery issues                    1.20   800.00           $960.00
10/10/2023 KBD       AA      Analyze proposed changes to Confidentiality      0.20   800.00           $160.00
                             Agreement.
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                                                                              Hours      Rate          Amount
10/10/2023 KBD       AA      Draft correspondence to Bond, Schoeneck &         0.10   800.00             $80.00
                             King, PLLC regarding Confidentiality
                             Agreement.
10/11/2023 JSP       AA      Review correspondence in connection with          0.70   800.00           $560.00
                             discovery
10/12/2023 JSP       AA      Prepare for call regarding DLF/DTF discovery      0.70   800.00           $560.00
10/12/2023 KBD       AA      Analyze discovery issues.                         0.30   800.00           $240.00
10/12/2023 KBD       AA      Work on discovery requests.                       0.60   800.00           $480.00
10/13/2023 IDS       AA      Call with Diocese regarding DLF/DTF               0.60   800.00           $480.00
                             discovery.
10/13/2023 JSP       AA      Prepare for and participate on call regarding     0.50   800.00           $400.00
                             DLF and DTF discovery
10/13/2023 KBD       AA      Call with C. Sullivan, G. Walter, S. Temes, I.    0.40   800.00           $320.00
                             Scharf and J. Pomerantz regarding outstanding
                             discovery matters.

10/13/2023 KBD       AA      Analyze issues relating to discovery.             0.50   800.00           $400.00
10/15/2023 JSP       AA      Review correspondence regarding discovery         0.60   800.00           $480.00
                             (M. Babcock and others)

10/16/2023 JSP       AA      Prepare for call regarding DLF, DTF and other     0.90   800.00           $720.00
                             discovery
10/16/2023 KBD       AA      Call with S. Temes regarding NDA.                 0.10   800.00             $80.00
10/16/2023 KBD       AA      Review proposed changes to NDA and related        0.40   800.00           $320.00
                             correspondence.
10/17/2023 JSP       AA      Correspondence regarding discovery                0.70   800.00           $560.00
10/18/2023 JSP       AA      Call with M. Babcock and K. Dine regarding        0.70   800.00           $560.00
                             discovery
10/18/2023 JSP       AA      Prepare for call with M. Babcock and K. Dine      0.40   800.00           $320.00
                             regarding discovery
10/18/2023 KBD       AA      Analyze documents produced in discovery           1.20   800.00           $960.00
                             regarding Diocese operations.
10/18/2023 KBD       AA      Call with I. Scharf regarding discovery           0.10   800.00             $80.00
                             matters.
10/18/2023 KBD       AA      Call with J. Pomerantz and M. Babcock             0.70   800.00           $560.00
                             regarding discovery.
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                                                                              Hours      Rate          Amount
10/18/2023 KBD       AA      Analyze proposed document requests from           0.30   800.00           $240.00
                             BRG.

10/19/2023 IDS       AA      Call with K. Dine and J. Pomerantz regarding      0.30   800.00           $240.00
                             discovery.

10/19/2023 IDS       AA      Review revisions to NDA.                          0.50   800.00           $400.00
10/19/2023 JSP       AA      Call with K. Dine and I. Scharf regarding         0.30   800.00           $240.00
                             discovery

10/19/2023 KBD       AA      Call with J. Pomerantz and I. Scharf regarding    0.30   800.00           $240.00
                             discovery issues.

10/19/2023 KBD       AA      Draft discovery requests.                         0.30   800.00           $240.00
10/20/2023 JSP       AA      Attention to discovery issues                     1.60   800.00       $1,280.00
10/20/2023 KBD       AA      Draft document requests.                          1.20   800.00           $960.00
10/23/2023 JSP       AA      Attention to discovery matters                    1.90   800.00       $1,520.00
10/23/2023 KBD       AA      Work on discovery requests.                       0.20   800.00           $160.00
10/24/2023 JIS       AA      Call with I. Scharf regarding status.             0.30   800.00           $240.00
10/24/2023 JSP       AA      Review correspondence from M. Babcock             1.80   800.00       $1,440.00
                             regarding discovery
10/26/2023 IDS       AA      Final review and execution of NDA                 0.50   800.00           $400.00
10/26/2023 JSP       AA      Analysis regarding discovery issues, including    1.40   800.00       $1,120.00
                             review of correspondence/documents in
                             connectxion with same
10/26/2023 KBD       AA      Call with I. Scharf regarding discovery.          0.10   800.00             $80.00
10/26/2023 KBD       AA      Correspondence with Burns Bair LLP                0.10   800.00             $80.00
                             regarding discovery issues.
10/26/2023 KBD       AA      Coordinate execution of NDA.                      0.20   800.00           $160.00
10/27/2023 JSP       AA      Attention to issues regarding DLF and DTF         0.80   800.00           $640.00
10/30/2023 JSP       AA      Attention to discovery issues                     2.30   800.00       $1,840.00
10/31/2023 JSP       AA      Correspondence regarding discovery issues,        0.80   800.00           $640.00
                             including DLF and DTF

                                                                              32.90               $26,320.00
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                                                                              Hours      Rate          Amount

Bankruptcy Litigation
10/02/2023 KBD       BL      Analyze pleadings filed in response to motions    0.40   800.00           $320.00
                             for hearing.

10/03/2023 KBD       BL      Review revised forms of orders.                   0.20   800.00           $160.00
10/05/2023 JIS       BL      Call I. I. Scharf regarding issues related to     1.00   800.00           $800.00
                             wages motion.

10/10/2023 KBD       BL      Review filed orders.                              0.30   800.00           $240.00
10/11/2023 IDS       BL      Review C Sullivan letter regarding request for    0.20   800.00           $160.00
                             additional time.

10/16/2023 JSP       BL      Correspondence regarding bar date order and       0.40   800.00           $320.00
                             NDA

10/17/2023 IDS       BL      Call with K Dine regarding letter to              0.20   800.00           $160.00
                             Chambers,
10/17/2023 IDS       BL      Review Diocese submission of mediation            1.10   800.00           $880.00
                             order and bar date order with insurer and
                             committee comments.
10/17/2023 IDS       BL      Revise letter regarding mediation order and       0.50   800.00           $400.00
                             bar date order.
10/17/2023 IDS       BL      Review LMI letter regarding bar date order        1.00   800.00           $800.00
                             and mediation order.

10/17/2023 KBD       BL      Call w/I. Scharf regarding letter to chambers.    0.20   800.00           $160.00
10/20/2023 KBD       BL      Review submission on cash management              0.10   800.00             $80.00
                             order.

10/20/2023 KBD       BL      Review orders as entered.                         0.10   800.00             $80.00
10/25/2023 KLL       BL      Review 10-3 transcript from transcriber.          0.20   545.00           $109.00
10/26/2023 KBD       BL      Analyze pleadings filed in case.                  0.20   800.00           $160.00
                                                                               6.10                $4,829.00

Case Administration
10/03/2023 KLL       CA      Correspond with J&J transcribers to transcribe    0.40   545.00           $218.00
                             9/11 341(a) meeting.

10/05/2023 EG        CA      Update Work in Progress List and Calendar         1.10   800.00           $880.00
10/05/2023 EG        CA      Weekly team work in progress call.                0.70   800.00           $560.00
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                                                                                Hours      Rate          Amount
10/05/2023 EG        CA      Draft email to K. LaBrada re: ordering              0.10   800.00             $80.00
                             transcripts

10/05/2023 IAWN CA           Telephone call with team re WIP.                    0.80   800.00           $640.00
10/05/2023 JSP       CA      Prepare for (.4) and participate (.5) on call       0.90   800.00           $720.00
                             regarding case status

10/05/2023 KBD       CA      Call with PSZJ team regarding action items          0.80   800.00           $640.00
                             and next steps.

10/10/2023 KLL       CA      Prepare for filing transcript request re 10/3/23    0.40   545.00           $218.00
                             hearing.

10/11/2023 EG        CA      Update weekly work in progress list and             1.00   800.00           $800.00
                             calendar.
10/11/2023 KLL       CA      Correspond with court transcriber on filing of      0.40   545.00           $218.00
                             transcript request form and prepare revised
                             form for filing.
10/12/2023 EG        CA      Update weekly work in progress list and             1.00   800.00           $800.00
                             calendar.
10/13/2023 KLL       CA      Update critical dates memo.                         0.20   545.00           $109.00
10/17/2023 EG        CA      Review new docket and docket items, calendar        1.00   800.00           $800.00
                             and update work in progress list.

10/17/2023 IDS       CA      Call with BSK team regarding pending                0.40   800.00           $320.00
                             matters.

10/17/2023 KBD       CA      Call with Debtor's counsel and I. Scharf            0.40   800.00           $320.00
                             regarding outstanding case matters.

10/17/2023 KLL       CA      Review correspondence with transcriber re           0.30   545.00           $163.50
                             341a meeting transcript and circulate to PSZJ
                             team.
10/18/2023 EG        CA      Update and distribute WIP list.                     0.50   800.00           $400.00
10/23/2023 EG        CA      Update WIP List.                                    0.50   800.00           $400.00
10/24/2023 KLL       CA      Review updates to critical dates memo.              0.20   545.00           $109.00
10/25/2023 EG        CA      Update WIP list and calendar for weekly team        0.70   800.00           $560.00
                             call.
10/25/2023 JSP       CA      Prepare for call regarding case status              0.60   800.00           $480.00
                             (including review of correspondence in
                             connection with same)
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10/25/2023 KBD       CA      Telephone call with BOND, SCHOENECK &                0.20   800.00           $160.00
                             KING, PLLC team and I. Scharf regarding
                             outstanding case issues.
10/26/2023 EG        CA      Update WIP and reschedule WIP Call.                  0.40   800.00           $320.00
10/31/2023 EG        CA      Update WIP and critical dates (.50); draft           1.30   800.00       $1,040.00
                             email to PSZJ re: same (.20); organize NDA
                             signature pages and draft email to Karen Dine
                             re: same (.40); draft email to Stretto re: claims
                             page (.10); draft email to B. Michaels re:
                             parishes, schools and law firms for claims
                             database (.10).
                                                                                 14.30               $10,955.50

Claims Administration and Objections
10/08/2023 KBD       CO      Prepare comments to Bar Date Order.                  0.70   800.00           $560.00
10/09/2023 IDS       CO      Review revised bar date order.                       0.80   800.00           $640.00
10/09/2023 KBD       CO      Analyze proposed bar date order revisions.           0.20   800.00           $160.00
10/10/2023 IDS       CO      Revise bar date order.                               1.20   800.00           $960.00
10/10/2023 KBD       CO      Analyze comments to bar date order.                  0.40   800.00           $320.00
10/11/2023 KBD       CO      Analyze comments to bar date order.                  0.40   800.00           $320.00
10/15/2023 KBD       CO      Prepare comments to bar date order.                  0.70   800.00           $560.00
10/16/2023 IDS       CO      Review Diocese revisions to bar date order           0.90   800.00           $720.00
                             and exhibits.
10/16/2023 KBD       CO      Review revisions to bar date order.                  0.50   800.00           $400.00
10/17/2023 KBD       CO      Analyze LMI letter regarding bar date and            0.50   800.00           $400.00
                             other orders.
10/17/2023 KBD       CO      Analyze proposed changes to bar date order.          0.80   800.00           $640.00
10/17/2023 KBD       CO      Prepare comments to bar date order.                  0.40   800.00           $320.00
10/17/2023 KBD       CO      Attention to correspondence from Chambers            0.20   800.00           $160.00
                             regarding bar date.
10/17/2023 KBD       CO      Draft letter to Court regarding the Bar Date.        1.60   800.00       $1,280.00
10/17/2023 KBD       CO      Revisions to letter regarding bar date for           0.70   800.00           $560.00
                             filing.

10/19/2023 IDS       CO      Review bar date order as entered.                    1.10   800.00           $880.00
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10/19/2023 KBD       CO      Analyze bar date as entered by court.            0.40   800.00           $320.00
10/30/2023 JIS       CO      Telephone call with I. Scharf regarding bar      0.20   800.00           $160.00
                             date issues.

10/31/2023 EG        CO      Obtain offender list and email to Les and        0.20   800.00           $160.00
                             Brittany.

                                                                             11.90                $9,520.00

General Creditors' Committee
10/02/2023 IDS       GC      Prepare agenda for committee meeting             0.70   800.00           $560.00
10/02/2023 IDS       GC      Meeting with committee on case issues            0.60   800.00           $480.00
10/02/2023 KBD       GC      Call with Committee, SCC and PSZJ                0.60   800.00           $480.00
                             regarding ongoing case issues.

10/02/2023 KBD       GC      Follow-up with I. Scharf regarding Committee     0.20   800.00           $160.00
                             meeting.

10/02/2023 KBD       GC      Prepare minutes of Committee meeting.            0.10   800.00             $80.00
10/06/2023 KBD       GC      Call with PSZJ and SCC regarding ongoing         0.50   800.00           $400.00
                             case issues.
10/09/2023 IDS       GC      Email to committee regarding call agenda.        0.20   800.00           $160.00
10/09/2023 IDS       GC      Call with Committee regarding case matters.      0.80   800.00           $640.00
10/09/2023 KBD       GC      Participate in call w/the Committee and SCC      0.60   800.00           $480.00
                             on outstanding issues.
10/09/2023 KBD       GC      Prepare minutes of Committee meeting.            0.10   800.00             $80.00
10/11/2023 KBD       GC      Correspondence among PSZJ and SCC on             0.10   800.00             $80.00
                             ongoing case issues.
10/13/2023 IDS       GC      Email to SCC in lieu of call.                    0.50   800.00           $400.00
10/17/2023 KBD       GC      Draft correspondence to SCC regarding            0.20   800.00           $160.00
                             ongoing case matters.
10/20/2023 IDS       GC      Email to SCC regarding case status in lieu of    0.30   800.00           $240.00
                             meeting
10/23/2023 IDS       GC      Call w/Committee and PSZJ on ongoing case        0.80   800.00           $640.00
                             issues.
10/23/2023 KBD       GC      Participate in call with Committee on ongoing    0.80   800.00           $640.00
                             case issues.
10/23/2023 KBD       GC      Call with I. Scharf re Committee meeting.        0.10   800.00             $80.00
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                                                                            Hours      Rate          Amount
10/23/2023 KBD       GC      Draft correspondence to Committee on            0.10   800.00             $80.00
                             ongoing case issues.

                                                                             7.30                $5,840.00

Hearings
10/02/2023 IDS       HE      Prepare for hearing on various motions          2.20   800.00       $1,760.00
10/02/2023 IDS       HE      Call with Karen Dine regarding hearing          0.30   800.00           $240.00
10/03/2023 IDS       HE      Prepare for contested hearing on multiple       3.50   800.00       $2,800.00
                             matters.

10/03/2023 IDS       HE      Attend hearing on multiple matters.             4.00   800.00       $3,200.00
10/03/2023 KBD       HE      Attend hearing telephonically (partial)         3.00   800.00       $2,400.00
                             regarding outstanding motions.

10/03/2023 KBD       HE      Call with I. Scharf regarding follow-up from    0.30   800.00           $240.00
                             hearing.

10/16/2023 IDS       HE      Prepare for hearing regarding insurance 2004    1.80   800.00       $1,440.00
10/16/2023 IDS       HE      Attend hearing regarding insurance 2004.        1.00   800.00           $800.00
                                                                            16.10               $12,880.00

Insurance Coverage
10/04/2023 EG        IC      Draft Motion to Intervene in Insurance          1.50   800.00       $1,200.00
                             Adversary
10/05/2023 EG        IC      Motion to Intervene in insurance Adversary.     1.10   800.00           $880.00
                                                                             2.60                $2,080.00

Mediation
10/09/2023 IDS       ME      Review mediation order.                         0.50   800.00           $400.00
10/10/2023 IAWN ME           Review mediation order and comment re same      0.30   800.00           $240.00
                             to I. Scharf.
10/10/2023 IDS       ME      Revise mediation order.                         0.70   800.00           $560.00
10/10/2023 KBD       ME      Prepare comments to mediation order.            0.30   800.00           $240.00
10/11/2023 KBD       ME      Analyze comments to proposed mediation          0.20   800.00           $160.00
                             order.
10/16/2023 IDS       ME      Review revised mediation order.                 0.40   800.00           $320.00
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                                                                              Hours      Rate          Amount
10/16/2023 KBD       ME      Review revisions to mediation order.              0.30   800.00           $240.00
                                                                               2.70                $2,160.00

PSZJ Retention
10/11/2023 EG        RP      Revise and submit order approving                 0.50   800.00           $400.00
                             employment of PSZJ

                                                                               0.50                    $400.00

Other Professional Retention
10/01/2023 EG        RPO     Review final BRG application (.20); draft         0.30   800.00           $240.00
                             email to I. Scharf re: same

10/02/2023 EG        RPO     Draft email to Matthew Babcock re: final          0.10   800.00             $80.00
                             BRG application

10/02/2023 EG        RPO     Edit application to retain Burns Bair             1.00   800.00           $800.00
10/09/2023 EG        RPO     Finalize and file Application to retain BRG.      0.50   800.00           $400.00
10/10/2023 EG        RPO     Review, edit and distribute Application to        0.50   800.00           $400.00
                             retain Burns Bair.

10/15/2023 EG        RPO     Draft email to I. Scharf re: final approval of    0.10   800.00             $80.00
                             Burns Bair application
10/31/2023 EG        RPO     Prepare order approving BRG Application for       0.30   800.00           $240.00
                             lodging.
                                                                               2.80                $2,240.00

Stay Litigation
10/24/2023 IDS       SL      Review motion for stay relief regarding           0.90   800.00           $720.00
                             probate matter
10/24/2023 KBD       SL      Review motion for relief from stay.               0.20   800.00           $160.00
                                                                               1.10                    $880.00

Travel
10/02/2023 IDS       TR      Travel from New Rochelle to Syracuse for          4.00      0.00              N/C
                             hearing.
10/03/2023 IDS       TR      Travel from Utica to Syracuse after hearing.      1.00      0.00              N/C
10/03/2023 IDS       TR      Travel from Syracuse to Utica for hearing.        0.90      0.00              N/C
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                                                                         Hours      Rate          Amount
10/04/2023 IDS       TR      Travel from Syracuse to NYC.                 4.00      0.00             N/C
                                                                          9.90                      $0.00

   TOTAL SERVICES FOR THIS MATTER:                                                         $78,104.50
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Expenses
10/02/2023 AT        Elite Transportation, Inv. 1892894 IDS                       189.40
10/04/2023 AT        Elite Transportation, Inv. 1892894 IDS                       155.37
10/17/2023 TR        JJ Court Transcribers, Inc. Inv. 2023-02030, KLL             517.00
10/18/2023 LN        18493.00002 Lexis Charges for 10-18-23                        10.69
10/20/2023 RE        ( 243 @0.10 PER PG)                                           24.30
10/20/2023 RE2       SCAN/COPY ( 27 @0.10 PER PG)                                   2.70
10/25/2023 TR        J & J COURT TRANSCRIBERS, INC.INV.2023-02087, KLL            789.60
10/31/2023 OS        EVERLAW, INC.-95699                                          250.00

   Total Expenses for this Matter                                           $1,939.06
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                                             A/R STATEMENT

   Outstanding Balance from prior invoices as of 10/31/2023         (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed   Expenses Billed         Balance Due

135073                     09/30/2023               $181,889.50            $808.82          $182,698.32

           Total Amount Due on Current and Prior Invoices:                                   $262,741.88
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


       NOTICE OF FILING OF THIRD MONTHLY FEE STATEMENT OF
 PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC
        DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
            NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its Third Monthly Fee Statement for Compensation for Services Rendered and Reimbursement of

Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman Catholic

Diocese of Ogdensburg, New York for the Period November 1, 2023 Through November 30,

2023, a copy of which is attached hereto and is hereby served upon you.




DE:4866-8966-8246.1 18493.002
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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       December 13, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


     THIRD MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
    LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
      OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
     YORK FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant                                       Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services             Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                      August 17, 20231

    Period for which compensation and                       11/1/23-11/30/23
    Reimbursement is sought:

    Amount of compensation sought as well as                $58,320.00
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as               $1,684.77
    actual, reasonable and necessary:



This is a monthly fee statement. It is the third monthly fee statement by Pachulski Stang Ziehl &
Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       December 13, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                        EXHIBIT A
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                                                                  10100 Santa Monica Blvd.
               PACHULSKI                                          13th Floor
               STANG                                              Los Angeles, CA 90067
               ZIEHL &
               JONES


Diocese of Ogdensburg O.C.C.                                      November 30, 2023
IDS                                                               Invoice 135258
                                                                  Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2023

              FEES                                                  $58,320.00
              EXPENSES                                               $1,684.77
              TOTAL CURRENT CHARGES                                 $60,004.77

              BALANCE FORWARD                                      $262,741.88
              TOTAL BALANCE DUE                                    $322,746.65




   WWW.PSZJLAW.COM                  LOS ANGELES   SAN FRANCISCO   DELAWARE       NEW YORK     TEXAS
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Summary of Services by Professional
ID       Name                                Title                     Rate    Hours            Amount
IAWN     Nasatir, Iain A.W.                  Partner                 800.00      0.80           $640.00
IDS      Scharf, Ilan D.                     Partner                 800.00     15.30      $12,240.00
IDS      Scharf, Ilan D.                     Partner                   0.00      9.00             $0.00
JSP      Pomerantz, Jason S.                 Partner                 800.00     20.70      $16,560.00
JSP      Pomerantz, Jason S.                 Partner                   0.00      0.00             $0.00
EG       Gray, Erin                          Counsel                 800.00     14.70      $11,760.00
KBD      Dine, Karen B.                      Counsel                 800.00     21.40      $17,120.00
KBD      Dine, Karen B.                      Counsel                   0.00     11.40             $0.00
                                                                      93.30                $58,320.00
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Summary of Services by Task Code
Task Code       Description                                               Hours                  Amount
AA              Asset Analysis and Recovery                               25.80              $20,640.00
CA              Case Administration                                        8.60               $6,880.00
CO              Claims Administration and Objections                       9.60               $7,680.00
CP              PSZJ Compensation                                         14.30              $11,440.00
GC              General Creditors' Committee                               3.00               $2,400.00
HE              Hearings                                                   8.80               $7,040.00
IC              Insurance Coverage                                         0.80                  $640.00
ME              Mediation                                                  1.80               $1,440.00
RPO             Other Professional Retention                               0.20                  $160.00
TR              Travel                                                    20.40                    $0.00
                                                                          93.30              $58,320.00
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Summary of Expenses
Description                                                                                     Amount
Air Fare                                                                                        $507.80
Attorney Service                                                                                $106.99
Hotel Expense                                                                                   $340.48
Lexis/Nexis- Legal Research                                                                      $33.20
Litigation Support Vendors                                                                      $250.00
Pacer - Court Research                                                                           $42.00
Reproduction Expense - @0.10 per page                                                           $192.80
Transcript                                                                                      $211.50
                                                                                            $1,684.77
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Client 18493.00002                                                                   November 30, 2023



                                                                             Hours     Rate          Amount

Asset Analysis and Recovery
11/01/2023 IDS       AA      Review document requests and information.        0.50   800.00          $400.00
11/01/2023 IDS       AA      Call with J.S. Pomerantz and K. Dine             0.30   800.00          $240.00
                             regarding information request regarding
                             DLF/DTF
11/01/2023 JSP       AA      Call with M. Babcock, K. Dine and others         0.30   800.00          $240.00
                             regarding DLF and DTF issues
11/01/2023 JSP       AA      Correspondence regarding DLF and DTF             0.20   800.00          $160.00
11/01/2023 JSP       AA      Review correspondence from M. Babcock and        0.40   800.00          $320.00
                             K. Dine regarding discovery
11/01/2023 JSP       AA      Correspondence regarding NDA                     0.20   800.00          $160.00
11/01/2023 KBD       AA      Telephone call regarding discovery with BRG,     0.30   800.00          $240.00
                             J. Pomerantz and I. Scharf.
11/01/2023 KBD       AA      Analyze correspondence among PSZJ and            0.30   800.00          $240.00
                             BSK regarding discovery.
11/02/2023 KBD       AA      Analysis of document production regarding        1.30   800.00      $1,040.00
                             DLF/DTF.
11/02/2023 KBD       AA      Correspondence among PSZJ and BOND,              0.10   800.00           $80.00
                             SCHOENECK & KING, PLLC regarding
                             discovery.
11/03/2023 JSP       AA      Review correspondence from M. Babcock            0.60   800.00          $480.00
                             regarding DLF and DTF issues
11/03/2023 KBD       AA      Analyze draft order re DLF/DTF.                  0.10   800.00           $80.00
11/03/2023 KBD       AA      Analyze proposed DLF/DTF budget.                 0.10   800.00           $80.00
11/06/2023 JSP       AA      Analysis of discovery based on                   1.60   800.00      $1,280.00
                             correspondence from M. Babcock
11/06/2023 KBD       AA      Draft document requests for Diocese and          1.20   800.00          $960.00
                             related entities.
11/07/2023 JSP       AA      Attention to DLF/DTF issues                      0.90   800.00          $720.00
11/08/2023 IDS       AA      Review discovery demands                         1.10   800.00          $880.00
11/08/2023 JSP       AA      Analysis of DLF/DTF proposed budget,             1.80   800.00      $1,440.00
                             including documents in connection with same
11/08/2023 KBD       AA      Call with Jason Pomerantz on discovery status    0.10   800.00           $80.00
                             and next steps.
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                                                                              Hours     Rate          Amount
11/08/2023 KBD       AA      Correspondence with S. Temes regarding            0.10   800.00           $80.00
                             discovery.

11/09/2023 KBD       AA      Call with J. Pomerantz regarding discovery.       0.10   800.00           $80.00
11/10/2023 KBD       AA      Correspondence with BRG and PSZJ                  0.10   800.00           $80.00
                             regarding discovery.

11/10/2023 KBD       AA      Correspondence with BOND, SCHOENECK               0.10   800.00           $80.00
                             & KING, PLLC regarding discovery.

11/10/2023 KBD       AA      Review interim order on DLF.                      0.10   800.00           $80.00
11/10/2023 KBD       AA      Correspondence with Anderson firm regarding       0.10   800.00           $80.00
                             discovery.

11/14/2023 JSP       AA      Correspondence from M. Babcock and others         0.90   800.00          $720.00
                             regarding DLF/DTF
11/15/2023 JSP       AA      Analysis of issues concerning DLT/DTF             0.80   800.00          $640.00
                             requests/production
11/15/2023 JSP       AA      Review correspondence from M. Babcock             0.70   800.00          $560.00
                             regarding discovery requests
11/15/2023 KBD       AA      Analyze discovery issues relating to              0.40   800.00          $320.00
                             DLF/DTF.
11/16/2023 KBD       AA      Draft discovery requests to Debtor and related    0.30   800.00          $240.00
                             correspondence.
11/17/2023 JSP       AA      Attention to DLF/DTF budget/discovery             0.80   800.00          $640.00
11/17/2023 JSP       AA      Review correspondence from M. Babcock and         1.60   800.00      $1,280.00
                             others at BRG regarding discovery
11/20/2023 KBD       AA      Call with BSK and I. Scharf regarding             0.20   800.00          $160.00
                             outstanding discovery issues.
11/21/2023 JSP       AA      Review discovery requests, including              2.60   800.00      $2,080.00
                             analyzing follow up, including correspondence
                             in connection with same
11/21/2023 KBD       AA      Attention to document production regarding        0.40   800.00          $320.00
                             DLF/DTF motion.
11/22/2023 JSP       AA      Attention to issues regarding DLF/DTF             0.80   800.00          $640.00
11/27/2023 JSP       AA      Attention to discovery issues                     1.80   800.00      $1,440.00
11/28/2023 JSP       AA      Correspondence regarding discovery issues         0.60   800.00          $480.00
11/30/2023 IDS       AA      Call w/K. Dine and J. Pomerantz regarding         0.40   800.00          $320.00
                             discovery.
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                                                                              Hours     Rate          Amount
11/30/2023 JSP       AA      Call regarding DLF, DTF and other related         0.40   800.00          $320.00
                             issues

11/30/2023 KBD       AA      Call with BRG and J. Pomerantz regarding          0.40   800.00          $320.00
                             document discovery.

11/30/2023 KBD       AA      Correspondence with PSZJ team regarding           0.10   800.00           $80.00
                             discovery.

11/30/2023 KBD       AA      Call with J. Pomerantz and I. Scharf regarding    0.40   800.00          $320.00
                             outstanding discovery issues.

11/30/2023 KBD       AA      Analyze materials in Everlaw relating to          0.20   800.00          $160.00
                             Debtor.
                                                                              25.80              $20,640.00

Case Administration
11/01/2023 IDS       CA      Call with BSK regarding pending matters           0.30   800.00          $240.00
11/02/2023 KBD       CA      Telephone call with J. Pomerantz regarding        0.10   800.00           $80.00
                             scheduling.
11/06/2023 EG        CA      Review filings and update WIP.                    1.00   800.00          $800.00
11/07/2023 KBD       CA      Telephone call BOND, SCHOENECK &                  0.20   800.00          $160.00
                             KING, PLLC team regarding outstanding
                             issues.
11/08/2023 IDS       CA      Call with K. Dine regarding case                  0.20   800.00          $160.00
11/09/2023 EG        CA      Update WIP                                        1.00   800.00          $800.00
11/09/2023 EG        CA      Attend WIP Call.                                  0.50   800.00          $400.00
11/09/2023 IDS       CA      Meeting with PSZJ team regarding case issues      0.50   800.00          $400.00
11/09/2023 JSP       CA      Prepare for/participate on case status call       0.50   800.00          $400.00
11/09/2023 KBD       CA      PSZJ team call regarding outstanding action       0.50   800.00          $400.00
                             items.

11/10/2023 KBD       CA      Telephone call with I. Scharf regarding next      0.10   800.00           $80.00
                             steps.

11/12/2023 EG        CA      Review filings, update WIP List and calendar      0.50   800.00          $400.00
                             items.

11/13/2023 EG        CA      Updated WIP                                       1.00   800.00          $800.00
11/15/2023 EG        CA      Update WIP and distribute for WIP Call.           0.30   800.00          $240.00
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11/15/2023 KBD       CA      Telephone call with J. Pomerantz regarding        0.10   800.00           $80.00
                             status.

11/22/2023 EG        CA      Update WIP and calendar dates.                    0.80   800.00          $640.00
11/28/2023 EG        CA      Update WIP.                                       0.50   800.00          $400.00
11/30/2023 EG        CA      Update WIP.                                       0.50   800.00          $400.00
                                                                               8.60               $6,880.00

Claims Administration and Objections
11/03/2023 KBD       CO      Analyze motion for reconsideration.               0.20   800.00          $160.00
11/03/2023 KBD       CO      Draft objection to motion for reconsideration.    0.80   800.00          $640.00
11/03/2023 KBD       CO      Research legal issues regarding                   0.30   800.00          $240.00
                             reconsideration.

11/09/2023 IDS       CO      Call with Stang regarding bar date                0.40   800.00          $320.00
11/09/2023 IDS       CO      Review orders entered today                       0.30   800.00          $240.00
11/19/2023 EG        CO      Research and draft response to Motion to          3.10   800.00      $2,480.00
                             Reconsider Bar Date Order

11/19/2023 KBD       CO      Draft objection to Century motion.                0.50   800.00          $400.00
11/19/2023 KBD       CO      Analyze hearing transcript relating to Century    0.40   800.00          $320.00
                             motion.

11/20/2023 KBD       CO      Revisions to objection to Century motion for      0.70   800.00          $560.00
                             reconsideration.
11/21/2023 KBD       CO      Analyze objection to Century motion.              0.30   800.00          $240.00
11/21/2023 KBD       CO      Telephone call with I. Scharf regarding           0.10   800.00           $80.00
                             Century motion.
11/22/2023 EG        CO      Finalize and file opposition to Century's         1.00   800.00          $800.00
                             Motion to Reconsider Bar Date Order.
11/22/2023 KBD       CO      Revise objection to Century motion and            0.70   800.00          $560.00
                             coordinate filing.
11/30/2023 KBD       CO      Analyze Century reply in support of               0.70   800.00          $560.00
                             reconsideration.
11/30/2023 KBD       CO      Correspondence with Century regarding             0.10   800.00           $80.00
                             request relating to Bar Date Order.
                                                                               9.60               $7,680.00
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                                                                              Hours     Rate          Amount

PSZJ Compensation
11/08/2023 JSP       CP      Attention to fee application matters in           0.40   800.00          $320.00
                             anticipation of interim fee application

11/08/2023 KBD       CP      Working on preparation of monthly fee             1.80   800.00      $1,440.00
                             statements in anticipation of interim fee
                             application
11/09/2023 EG        CP      Review interim compensation order (.40);          0.50   800.00          $400.00
                             draft email re same (.10) in anticipation of
                             interim fee application

11/11/2023 KBD       CP      Work on monthly fee statement in anticipation     1.30   800.00      $1,040.00
                             of interim fee application

11/13/2023 EG        CP      Draft emails to professionals re: interim         0.20   800.00          $160.00
                             compensation procedures.

11/14/2023 JSP       CP      Work on fee application                           0.70   800.00          $560.00
11/17/2023 KBD       CP      Call with J. Pomerantz regarding monthly fee      0.10   800.00           $80.00
                             statement in anticipation of interim fee
                             application
11/17/2023 KBD       CP      Analyze draft monthly fee statement in            0.30   800.00          $240.00
                             anticipation of interim fee application
11/18/2023 IDS       CP      Review and comment on PSZJ fee statements         1.20   800.00          $960.00
                             for in anticipation of interim fee application
11/18/2023 JSP       CP      Work on fee application                           0.60   800.00          $480.00
11/19/2023 KBD       CP      Revisions to fee statement in anticipation of     0.40   800.00          $320.00
                             interim fee application

11/20/2023 EG        CP      Finalize, review and serve PSZJ's first and       2.70   800.00      $2,160.00
                             second monthly fee statements in anticipation
                             of interim fee application
11/20/2023 EG        CP      Finalize, review and serve PSZJ's first and       0.50   800.00          $400.00
                             second monthly fee statements in anticipation
                             of interim fee application

11/20/2023 JSP       CP      Calls regarding fee application                   0.00   800.00              N/C
11/20/2023 JSP       CP      Work on monthly fee application in                0.90   800.00          $720.00
                             anticipation of interim fee application

11/20/2023 KBD       CP      Call with W. Ramseyer and J. Pomerantz            0.30   800.00          $240.00
                             regarding monthly fee statements in
                             anticipation of interim fee application
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                                                                             Hours     Rate          Amount
11/20/2023 KBD       CP      Call with W. Ramseyer, J. Pomerantz, and E.      0.20   800.00          $160.00
                             Gray regarding monthly fee statements in
                             anticipation of interim fee application
11/20/2023 KBD       CP      Correspondence among team regarding              0.10   800.00           $80.00
                             monthly fee statement in anticipation of
                             interim fee application
11/20/2023 KBD       CP      Review monthly fee statements in anticipation    0.40   800.00          $320.00
                             of interim fee application

11/21/2023 IDS       CP      Review and revise PSZJ fee statement in          1.10   800.00          $880.00
                             anticipation of interim fee application

11/22/2023 JSP       CP      Work on fee application                          0.60   800.00          $480.00
                                                                             14.30              $11,440.00

General Creditors' Committee
11/01/2023 IDS       GC      Email update to Committee                        1.20   800.00          $960.00
11/01/2023 KBD       GC      Analyze correspondence among Committee,          0.20   800.00          $160.00
                             SCC and PSZJ regarding ongoing case issues.

11/03/2023 IDS       GC      Call with PSZJ, Burns Bair LLP and SCC           0.50   800.00          $400.00
                             regarding ongoing case issues.

11/03/2023 KBD       GC      Call with S. LeClair regarding ongoing case      0.20   800.00          $160.00
                             issues.
11/03/2023 KBD       GC      Call with PSZJ, Burns Bair LLP and SCC           0.50   800.00          $400.00
                             regarding ongoing case issues.
11/12/2023 EG        GC      Draft email to Myra and Camille Gibeau re:       0.40   800.00          $320.00
                             NDA (.10); draft email to committee counsel
                             re: NDA (.30)

                                                                              3.00               $2,400.00

Hearings
11/01/2023 KBD       HE      Telephone call with I. Scharf regarding          0.20   800.00          $160.00
                             hearing and next steps.

11/06/2023 IDS       HE      Prepare for hearing                              2.50   800.00      $2,000.00
11/06/2023 KBD       HE      Call with I. Scharf regarding hearing.           0.10   800.00           $80.00
11/07/2023 IDS       HE      Attend hearing                                   2.00   800.00      $1,600.00
11/07/2023 IDS       HE      Prepare for hearing                              2.00   800.00      $1,600.00
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                                                                            Hours     Rate          Amount
11/07/2023 KBD       HE      Prepare for and participate in hearing.         2.00   800.00      $1,600.00
                                                                             8.80               $7,040.00

Insurance Coverage
11/08/2023 IAWN IC           Review form of precedent re 2004 and send to    0.80   800.00          $640.00
                             I. Scharf, J. Stang and K. Dine re potential
                             use.
                                                                             0.80                   $640.00

Mediation
11/03/2023 KBD       ME      Draft letter regarding mediator appointment.    0.60   800.00          $480.00
11/03/2023 KBD       ME      Analyze Debtor letter to court regarding        0.10   800.00           $80.00
                             mediation.
11/07/2023 IDS       ME      Draft letter to court regarding mediators       0.40   800.00          $320.00
11/08/2023 IDS       ME      Attention to court order regarding mediator     0.20   800.00          $160.00
                             selection
11/08/2023 IDS       ME      Attention to court order regarding mediator     0.20   800.00          $160.00
                             selection
11/08/2023 KBD       ME      Review court text order regarding mediator.     0.10   800.00           $80.00
11/10/2023 KBD       ME      Review Diocese letter re mediator.              0.10   800.00           $80.00
11/10/2023 KBD       ME      Review insurer letter re mediator.              0.10   800.00           $80.00
                                                                             1.80               $1,440.00

Other Professional Retention
11/13/2023 EG        RPO     Review and lodge order approving Burns Bair     0.20   800.00          $160.00
                             application.
                                                                             0.20                   $160.00

Travel
11/06/2023 IDS       TR      Travel to Syracuse in advance of hearing        4.00   800.00              N/C
11/06/2023 KBD       TR      Travel to Utica for hearing. (No Charge)        5.40   800.00              N/C
11/07/2023 IDS       TR      Travel to hearing from Syracuse (No Charge)     1.00   800.00              N/C
11/07/2023 IDS       TR      Travel to NYC from hearing (No Charge)          4.00   800.00              N/C
11/07/2023 KBD       TR      Travel to and from hearing.                     6.00   800.00              N/C
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                                                                         20.40                   $0.00

   TOTAL SERVICES FOR THIS MATTER:                                                       $58,320.00
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Expenses
11/30/2020 OS        Everlaw, Inv. 98374                                          250.00
11/03/2023 LN        18493.00002 Lexis Charges for 11-03-23                        33.20
11/06/2023 AS        Dial7 taxi cab to JFK airport, KBD                           106.99
11/07/2023 AF        Delta Syracuse,NY - NYC Kennedy, Ticket NO.                  507.80
                     0062186797195, KBD

11/07/2023 HT        Double Tree Hotel Syracuse, 1 night stay, Nov 6, KBD         340.48
11/20/2023 TR        JJ COURT, Inv. 2023-02266 ,KLL                               211.50
11/22/2023 RE2       ( 875 @0.10 PER PG)                                           87.50
11/22/2023 RE2       ( 1053 @0.10 PER PG)                                         105.30
11/30/2023 PAC       Pacer - Court Research                                        42.00

   Total Expenses for this Matter                                           $1,684.77
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                                             A/R STATEMENT

   Outstanding Balance from prior invoices as of 11/30/2023         (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed   Expenses Billed         Balance Due

135073                     09/30/2023               $181,889.50            $808.82          $182,698.32
135075                     10/31/2023                $78,104.50          $1,939.06           $80,043.56

           Total Amount Due on Current and Prior Invoices:                                   $322,746.65
